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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                             *
    ALIANZA AMERICAS, YANET DOE, PABLO                       *
    DOE, and JESUS DOE on behalf of themselves and           *
    all others similarly situated,                           *
                                                             *
                     Plaintiffs,                             *
                                                             *
                     v.                                      *
                                                             *
    RONALD D. DESANTIS, Governor of Florida, in              *
    his official and personal capacities; JARED W.           *
    PERDUE, Secretary of the Florida Department of           * Civil Action No. 22-cv-11550-ADB
    Transportation, in his official and personal capacities; *
    LAWRENCE A. KEEFE, Florida Public Safety Czar, *
    in his official and personal capacities; JAMES           *
    UTHMEIER, Chief of Staff to Florida Governor, in         *
    his official and personal capacities; STATE OF           *
    FLORIDA; THE FLORIDA DEPARTMENT OF                       *
    TRANSPORTATION; JAMES MONTGOMERIE;                       *
    PERLA HUERTA; and VERTOL SYSTEMS                         *
    COMPANY, INC.,                                           *
                                                             *
                     Defendants.                             *



                                MEMORANDUM AND ORDER


BURROUGHS, D.J.

          Plaintiffs Alianza Americas (“Alianza”), Yanet Doe (“Yanet”), Pablo Doe (“Pablo”), and

Jesus Doe (“Jesus”), on behalf of themselves and all others similarly situated (collectively,

“Plaintiffs”), 1 brought this action alleging violations of the Fourth and Fourteenth Amendments,




1
 Plaintiffs seek class certification. [ECF No. 21 (“Amended Complaint” or “Am. Compl.”) ¶¶
197–210]. Though the Court has not yet addressed class certification in this case, it refers to
Plaintiffs collectively for convenience at this stage.
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discrimination in violation of 42 U.S.C. § 2000d, preemption, violation of civil rights under

42 U.S.C. § 1985(3), false imprisonment, fraud/deceit, intentional infliction of emotional

distress, negligent infliction of emotional distress, civil conspiracy, aiding and abetting, and Ultra

Vires in connection with alleged false promises that led Plaintiffs to board two flights (the

“Flights”) from San Antonio, Texas, to Martha’s Vineyard, Massachusetts on September 14,

2022. [Am. Compl. ¶¶ 1–3, 211–342]. Currently before the Court are defendants Ronald D.

DeSantis, Jared W. Perdue, Lawrence A. Keefe, James Uthmeier, the State of Florida, the

Florida Department of Transportation (“Florida DOT”), James Montgomerie, Perla Huerta, and

Vertol Systems Company, Inc.’s (“Vertol”) (collectively, “Defendants”) motions to dismiss.

[ECF Nos. 80, 82, 84]. 2 For the following reasons, the motions to dismiss at ECF Nos. 80 and

84 are GRANTED, and the motion to dismiss at ECF No. 82 is GRANTED in part and DENIED

in part.




2
  Defendants have separately moved to transfer this case. [ECF No. 81]. In Plaintiffs’ combined
response to all three motions to dismiss, Plaintiffs state that:

           If the Court retains this case and does not transfer it to the Northern District of
           Florida, Plaintiffs do not intend to pursue Count III (Title VI), Count IV
           (Preemption), and Count XI (Negligent Infliction of Emotional Distress) against
           Florida or [Florida] DOT, or any claim against DeSantis, Keefe, Uthmeier, and
           Perdue in their official capacities. However, [P]laintiffs consent to dismissal of
           those claims only if the Court retains the case, and reserve their right to pursue them
           in the event of transfer to the Northern District of Florida.

[ECF No. 98 at 16 n.4 (emphasis in original)]. Thus, the Court does not consider these claims
here. Moreover, because the claims at issue are against DeSantis, Keefe, Uthmeier, and Perdue
in their personal capacities, the Court refers to this group as the “Individual State Defendants”
below.
                                                   2
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I.           BACKGROUND

                   A.   Factual Background

             The following relevant facts are taken from the Amended Complaint, which the Court

     assumes to be true when considering a motion to dismiss. Ruivo v. Wells Fargo Bank, N.A., 766

  F.3d 87, 90 (1st Cir. 2014).

                           1.      The Parties

             Yanet, Pablo, and Jesus are recent immigrants from Venezuela that were on the Flights.

  [Am. Compl. ¶¶ 13–15]. The remaining unnamed Plaintiffs are also recent immigrants from

  Venezuela and Peru that were on the Flights. [Id. ¶¶ 1, 75]. 3

             Alianza is a non-profit corporation that provides “programming and resources to

 immigrant communities, immigrant-serving organizations, state and local officials, and the

 public concerning issues of immigration, human rights, and democratic participation.” [Am.

 Compl. ¶ 16]. It is incorporated in California with a principal place of business in Chicago,

 Illinois. [Id.]. Because of Defendants’ actions, Alianza has diverted programs and media

  resources from its usual activities to

             assist[ing] member organizations in responding to the needs of immigrants who
             have been . . . transported to places where they lack access to housing and
             transportation; mobiliz[ing] staff to educate member organizations and government
             officials about Defendants’ actions and threatened future actions; and creat[ing]
             programming—including a list of talking points for immigrants and community
             members likely to interact with transported immigrants . . . .

     [Id. ¶ 17].

             DeSantis is the Governor of Florida. [Am. Compl. ¶ 18]. Uthmeier is Chief of Staff to

  DeSantis. [Id. ¶ 21].




  3
      Plaintiffs do not specify in the Complaint where they are located today.
                                                     3
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       The Florida DOT is an agency of the State of Florida. [Am. Compl. ¶ 24]. “[A] portion”

of the “funds used to fly [] Plaintiffs” on the Flights were “appropriated to [Florida] DOT by

Defendant State of Florida from the General Revenue Fund for immigrant relocation,” also

known as the “Relocation Program.” [Id.].

       Perdue is the Secretary of the Florida DOT, which “runs and promulgated guidelines for

Florida’s ‘Relocation Program.’” [Am. Compl. ¶ 19]. He was appointed by DeSantis. [Id.].

Plaintiffs claim that Perdue was “responsible for soliciting quotes, selecting vendors, and

negotiating contracts to transport immigrants to Massachusetts.” [Id.].

       Keefe is the “public safety czar” for the State of Florida. [Am. Compl. ¶ 20]. He was

appointed by DeSantis in September 2021, and in that role, he “focus[es] on immigration

issues[,]” “lead[s] efforts” to “address[] the impacts illegal immigration has had,” and is charged

“with implementing an executive order prohibiting cooperation by Florida officials with federal

relocation of unauthorized immigrants in the state.” [Id.].

       Huerta, also known as “Perla,” is a private individual who Plaintiffs allege most recently

lived in Florida. [Am. Compl. ¶ 22]. Plaintiffs claim that Huerta was the “lead recruiter” in

Defendants’ efforts to get Plaintiffs on the Flights. [Id.].

       Vertol is the operator of the Flights. [Am. Compl. ¶ 25]. It is a Florida corporation with

its principal place of business in Florida. [Id.]. The Florida DOT paid Vertol approximately

$1.5 million for the Flights and “future flights with similar missions.” [Id.]. Montgomerie is the

president and sole officer of Vertol. [Id. ¶¶ 25–26].

                       2.      Bidding for the Flights

       In the summer of 2021, Plaintiffs allege that DeSantis sent members of his team to Texas

to assess how he might get involved in immigration issues. [Am. Compl. ¶ 31]. Shortly

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thereafter, he, Keefe and Uthmeier purportedly “hatched a scheme . . . to send immigrants to the

northeast United States and profit from the ensuing media coverage.” [Id.].

         In December 2021, DeSantis released a budget proposal that would appropriate

“$8 million ‘to implement a program to assist the state’s efforts to protect against harms resulting

from illegal immigration,’ which ‘may include the transport of unauthorized aliens located

within the state to other states within the United States of America, or the District of Columbia.’”

[Am. Compl. ¶ 32 (quoting Ronald D. DeSantis, Gov. of Fla., Freedom First Budget,

http://www.freedomfirstbudget.com/content/Current/Reports/BudgetHighlights.pdf)]. The

Florida legislature then “appropriated funds for use in a relocation program along the lines of the

plan [] DeSantis proposed.” [Id. ¶ 34].

          On June 2, 2022, DeSantis signed the 2022 General Appropriations Act, which

appropriated, in Section 185, “$12,000,000 from the General Revenue Fund . . . to the [Florida

DOT] for Fiscal Year 2021-2022, for implementing a program to facilitate the transport of

unauthorized aliens from this state consistent with federal law.” [Am. Compl. ¶¶ 35–36

(emphasis removed)]. 4 The Florida DOT then issued guidelines explaining that the $12 million




4
    The text of Section 185 provides as follows:

         From the interest earnings associated with the federal Coronavirus State Fiscal
         Recovery Fund (Public Law 117-2), the nonrecurring sum of $12,000,000 from the
         General Revenue Fund is appropriated to the Department of Transportation for
         Fiscal Year 2021-2022, for implementing a program to facilitate the transport of
         unauthorized aliens from this state consistent with federal law. The department
         may, upon the receipt of at least two quotes, negotiate and enter into contracts with
         private parties, including common carriers, to implement the program. The
         department may enter into agreements with any applicable federal agency to
         implement the program. The term “unauthorized alien” means a person who is
         unlawfully present in the United States according to the terms of the federal

                                                   5
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Relocation Program budget would be used for “manag[ing] [the] program to relocate out of the

State of Florida foreign nationals who are not lawfully present in the United States.” [Id. ¶ 39].

         In the summer of 2022, Perdue and the Florida DOT solicited bids from vendors “to

implement and manage a program to relocate out of the State of Florida foreign nationals who

are not lawfully present in the United States” under the supervision of a “Department Project

Manager.” [Am. Compl. ¶¶ 40–41]. The bid winner would, “upon the request of ‘certain

designated state and local law enforcement or criminal justice agencies,’ arrange or provide

either ground or air transportation” to “relocat[e] [] Unauthorized Aliens who are found in

Florida and have agreed to be relocated to another state in the United States . . . .” [Id. ¶ 41].

The solicitation sought a contract with a term lasting “until June 30, 2023, or until the $12

million appropriated for Florida’s Relocation Program . . . was exhausted.” [Id. ¶ 42].

       Vertol submitted a bid in August 2022, stating that it owned a fleet of aircraft that could

meet the Florida DOT’s request for flights “‘[a]s needed and requested by [Florida] DOT or its

authorized representative.’” [Am. Compl. ¶¶ 46, 48–49]. Keefe and Montgomerie had “regular

correspondence” regarding the bid, including texts and phone calls, in August and September of

2022. [Id. ¶ 46–47]. For example, Keefe texted Montgomerie asking “when the proposal will be

ready” because the “[Florida] DOT requested” that he inquire. [Id. ¶ 47].




       Immigration and Nationality Act, 8 U.S.C. ss. 1101 et seq. The term shall be
       interpreted consistently with any applicable federal statutes, rules, or regulations.

[Am. Compl. ¶ 36]. Section 185 was funded by earnings associated with the Federal
Coronavirus State Fiscal Recovery Fund, which “provided over $350 billion in aid to state[s]” to
“among other things, replace lost public sector revenue, respond to the far-reaching public health
and negative economic impacts of the pandemic, and provide premium pay for essential
workers.” [Id. ¶ 37].
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       The first project in Vertol’s proposal, “Project 1,” was for the “‘relocation of individuals

to the State of Massachusetts or other, proximate northeastern state designated by [Florida] DOT

based upon the extant conditions.’” [Am. Compl. ¶ 51]. Plaintiffs allege that “[e]mails

exchanged between officials at [Florida] DOT and [] Vertol that day[, September 2, 2022]

acknowledge that Defendants anticipated transporting individuals from outside the state of

Florida.” [Id. ¶ 52]. For example, Plaintiffs aver that a Florida “[]DOT employee told [] Vertol

that ‘[b]ecause the flights from Florida may include passengers originating from in or out of

Florida, any pricing information should include, in addition to air transportation from Florida,

any air or ground transportation and related services necessary to facilitate such transportation

from Florida.’” [Id.]. Vertol then submitted a follow-up bid for the “relocation of up to 50

people ‘to the State of Massachusetts or other, proximate northeastern state designated by

[Florida] DOT,’” for $615,000. [Id. ¶ 53]. On September 8, 2022, the Florida DOT paid

$615,000 to Vertol from Florida’s general revenue fund “with the line item ‘Relocation Program

of Unauthorized Aliens.’” [Id. ¶ 54]. Plaintiffs allege that Perdue approved the payment from

the $12 million in funds appropriated to Florida DOT under Section 185. [Id. ¶ 56]. 5

                       3.     Individual Recruitment

       Plaintiffs claim that after signing the contract, Vertol engaged Huerta to serve as the

“lead recruiter” of individuals to be transported. [Am. Compl. ¶¶ 57, 61]. Keefe also traveled to

San Antonio to work with Huerta, [id. ¶ 60], and both Keefe and Huerta coordinated with

Montgomerie to “recruit immigrants . . . from South America to send to Martha’s Vineyard,” [id.



5
 On September 19, 2022—five days after the Flights—the Florida DOT “paid an additional
$950,000 to [] Vertol under the same line item, ‘Relocation Program of Unauthorized Aliens.’”
[Am. Compl. ¶ 55]. Plaintiffs allege that Perdue approved this payment as well. [Id. ¶ 56].

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¶ 62]. Plaintiffs allege that, based on Huerta’s communications with Keefe, “she knew or should

have known that the scheme was funded by [the] State of Florida and [the Florida] DOT and

undertaken at the behest of [] DeSantis, Perdue, Uthmeier, and Keefe.” [Id. ¶ 69].

       Huerta then encountered Plaintiffs Yanet, Pablo and Jesus. [Am. Compl. ¶ 70]. Plaintiffs

claim that in speaking with them, Huerta “concealed the purpose of Defendants’ scheme and

Defendants’ identities[,]” and “stated that the flights she was procuring for them were being

funded by ‘a wealthy anonymous benefactor’ or by ‘churches and foundations.’” [Id. ¶ 71]; see

also [id. ¶¶ 84, 87]. As part of their recruitment, Huerta asked each individual for pictures of

their immigration documents. [Id. ¶¶ 79, 86, 91].

       Huerta took Plaintiffs to a hotel where they stayed for three to five days, and where they

were “dependent upon [her] to bring them meals and provide them basic necessities. They were

effectively sequestered at the hotel for the entirety of their stay.” [Am. Compl. ¶ 81]; see also

[id. ¶ 88]. During the stay, Huerta allegedly told them, for example, that she was “arranging a

flight to a city in the Northeast,” and that “if [they] got on the flight, they would be provided

with stable housing, work, educational resources[,] . . . and help changing their address for their

immigration proceedings.” [Id. ¶ 82 (Yanet)]; see also [id. ¶¶ 85 (Pablo), 92 (Jesus)].

       Plaintiffs allege that, often introducing herself as “Perla,”

       Huerta repeated these promises to numerous other recent immigrants from
       Venezuela and Peru to convince them to accept transportation. In each instance,
       she concealed that she was working on behalf of [the] State of Florida and at the
       behest of [] DeSantis, and that she was arranging for immigrants to be transported
       not to a major city, but to the small, isolated island of Martha’s Vineyard.

[Am. Compl. ¶ 94]; see also [id. ¶¶ 95–97]. Plaintiffs further allege that Huerta and other

Defendants exclusively targeted Latinx Immigrants from South America, [id. ¶ 73], all of the




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Plaintiffs were in Texas when they were approached by Huerta, [id. ¶ 98], and that none of the

Plaintiffs had ever been to Florida, [id. ¶ 99].

         Montgomerie was also involved in Plaintiffs’ recruitment, although it is not clear if he

actually spoke with any of the Plaintiffs. See [Am. Compl. ¶ 109]. For example, on September

11, 2022, Plaintiffs allege that

         Montgomerie texted [] Keefe, “We are 50 today” with a thumbs-up emoji. This
         likely meant that Defendants had recruited the 50 immigrants who they intended to
         deceive into boarding a plane in Texas. Defendant Montgomerie related that “[t]he
         network has grown exponentially!” and that “[w]e could probably generate another
         50 inside 48 hours.” [] Keefe congratulated [] Montgomerie on his “[g]reat work.”

[Id.].

                        4.     The Flights

         In early September, while Huerta was recruiting individuals, Keefe was in Texas and in

frequent communication with Uthmeier regarding the Flights. [Am. Compl. ¶¶ 101–105, 108,

110–112]. Keefe and Uthmeier, in turn, coordinated with Texas officials, [id. ¶¶ 102–103], as

well as Vertol and Montgomerie, [id. ¶¶ 104, 109]. Meanwhile, on September 9, 2022, DeSantis

said in a speech that “‘I do have this money. I want to be helpful. Maybe we will go to Texas

and help. Maybe we’ll send [immigrants] to Chicago, Hollywood, Martha’s Vineyard. Who

knows?’” [Id. ¶ 106].

         On September 14, 2022, Huerta had at least some Plaintiffs, including Pablo and Jesus,

sign an “Official Consent to Transport” form in exchange for a $10 McDonald’s gift card. [Am.

Compl. ¶¶ 115–117]. 6 The form referred to a “benefactor,” but not the State of Florida, and




6
  Plaintiffs allege that Jesus “was not given time to read or review the document, received no
explanation of what he was signing, and was induced to sign by the promise of a $10 gift card for
food.” [Am. Compl. ¶ 116].
                                                  9
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identified Massachusetts as the final destination of the Flights, but not specifically Martha’s

Vineyard. [Id. ¶¶ 118–119]. Plaintiffs were then driven to an airport, where they were told to

line up for the planes, and not to take pictures or use their phones. [Id. ¶¶ 121–122]. A

uniformed officer led a police dog up and down the line, and a man took their photos as they

boarded two planes. [Id. ¶¶ 123–124]. At this time, Yanet reported being “scared” because she

feared deportation. [Id. ¶ 124].

        Keefe and Montgomerie also boarded the planes, which departed San Antonio and made

a first stop in Crestview, Florida. [Am. Compl. ¶¶ 127, 129]. Plaintiffs did not get off the plane

in Crestview. [Id. ¶ 129]. Instead, Plaintiffs allege that the purpose of the stop was to suggest

that Plaintiffs “were immigrants in Florida and thus subject to [Florida] DOT’s Relocation

Program[,]” and to drop Keefe and Montgomerie at a location close to their homes. [Id. ¶¶ 130–

131].

        The planes then stopped for fuel and to change flight crews in South Carolina and North

Carolina. [Am. Compl. ¶ 132]. When Yanet’s plane stopped, she checked her phone to make

sure she had not been deported and taken out of the country. [Id. ¶ 133].

        Shortly before arriving in Martha’s Vineyard, Plaintiffs received a folder containing a

map of the United States showing where they were going, a map of Martha’s Vineyard, a

brochure titled “Massachusetts Refugee Benefits/Massachusetts Beneficios para Refugiados”

that contained information about Refugee Cash Assistance and Refugee Employment Services

programs, and a copy of U.S. Citizenship and Immigration Services (“USCIS”) Form AR-11,




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which is used to change an immigrant’s address in USCIS’s system. 7 [Am. Compl. ¶¶ 134–137,

142]. With respect to the Brochure, Plaintiffs contend that it was fake, inaccurate, and intended

to deceive. [Id. ¶ 138]. They allege in particular that the brochure described programs that were

unavailable to them and that it “echoed many of the false representations and promises that”

Huerta had made, including that Massachusetts agencies would provide “assistance with

housing, food, clothing, job training, and other basic necessities.” [Id. ¶¶ 140–141].

        Finally, shortly before landing, Plaintiffs were told for the first time that they were being

taken to Martha’s Vineyard. [Am. Compl. ¶143]. Yanet was “devastated and terrified” that she

was being taken to an island and she and her family were scared to get off the plane. [Id. ¶ 144].

Jesus had never heard of Martha’s Vineyard and had thought they were being taken to Boston.

[Id. ¶ 145].

                       5.      Arrival in Martha’s Vineyard

        The planes arrived in Martha’s Vineyard between 3:00 and 3:30 PM, where Plaintiffs

allege DeSantis had arranged for a videographer to record their arrival. [Am. Compl. ¶¶ 147–

148]. Plaintiffs were recorded deplaning and then boarding vans to take them to the Martha’s

Vineyard Community Services (“MVCS”) center, and Plaintiffs claim those videos were

provided to Fox News. [Id. ¶¶ 148–149]. Plaintiffs state on information and belief that, other

than the videographer and van drivers, nobody on Martha’s Vineyard or in Massachusetts had

any advance notice of Plaintiffs’ arrival. [Id. ¶ 151].




7
  Plaintiffs aver that even if they filled out Form AR-11, it would not have been sufficient to alert
the relevant immigration authorities. [Am. Compl. ¶ 142].

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       When the Plaintiffs arrived at MVCS, they were scared, confused, and “surprised that

[MVCS wasn’t] expecting them.” [Am. Compl. ¶¶ 153, 155]. They were eventually taken to St.

Andrew’s Episcopal Church, which provides shelter to unhoused Martha’s Vineyard residents.

[Id. ¶ 154]. Plaintiffs allege that Defendants knew that Plaintiffs did not have money or

resources to leave the island once they arrived. [Id. ¶ 155].

       After the planes dropped Plaintiffs in Martha’s Vineyard, they took one Vertol employee,

Candice Wahowski, as well as Michael Basaldu, Eliana Nanclares, and Edgar Torres, whose

affiliations are unclear from the Amended Complaint, to Atlantic City, New Jersey. [Am.

Compl. ¶ 150].

                       6.     After Landing in Martha’s Vineyard

       Plaintiffs allege that Yanet, Pablo, Jesus, and other Plaintiffs suffered in a number of

ways as a result of the Flights and being left in Martha’s Vineyard. For example, Plaintiffs claim

that Yanet, Pablo and Jesus suffered physical, emotional, and economic harm. [Am. Compl.

¶¶ 156–157, 160–161, 164–167]. They further aver that if they had known that shelter and other

services had not been arranged, they would not have accepted Huerta’s offer to take the Flights.

[Id. ¶¶ 159, 162, 168]. 8 Other Plaintiffs also felt deceived and experienced “trauma,” physical

distress, and fear. [Id. ¶¶ 169–171].

       In addition, Alianza “diverted staff, educational resources, and financial resources away

from its planned programming and mission toward supporting its member organizations,”

Plaintiffs, and other “people who may be vulnerable to similar . . . acts in the future.” [Am.

Compl. ¶¶ 172, 174]. For example, Alianza leadership and staff “helped member organizations



8
 Plaintiffs also allege that Yanet, Pablo, and Jesus all reached out to Huerta, who was either
unhelpful or ignored their outreach. [Am. Compl. ¶¶ 156, 160, 163].
                                                 12
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coordinate and provide emergency support to the immigrants sent to Martha’s Vineyard and

other cities,” [id. ¶ 173], by, among other things, creating “educational materials, including

talking points and community programming for immigrant-serving communities,” [id. ¶ 174],

and “work[ing] with local governments to recommend ways that local and state governments can

best support asylum-seeking immigrants” in similar scenarios, [id. ¶ 175]. Alianza anticipates it

will need to continue “direct[ing] resources” in response to “similar . . . transports and schemes,”

[id. ¶ 176], and that it will “continue to suffer harm due to Defendants’ actions because it will be

required to forgo organizational priorities and instead direct its personnel and money toward

educating and supporting immigrants who fall victim to Defendants’ ploys, and assisting the

communities that offer deceived immigrants food, shelter, and assistance,” [id. ¶ 177].

        As to Defendants’ conduct after Plaintiffs were left on Martha’s Vineyard, Plaintiffs

allege that on September 15, 2022, DeSantis “claimed credit” for the Flights. [Am. Compl.

¶ 178]; see also [id. ¶¶ 183–185]. He explained that he funded the Flights with the $12 million

Relocation Program fund, and that he would continue to relocate immigrants until the funds were

“‘exhaust[ed].’” [Id. ¶ 179]. He stated the Flights were “‘just the beginning’” and that

“‘[t]here’s going to be a lot more that’s happening.’” [Id.]. When asked to explain why the

Flights had originated in Texas, DeSantis said that “‘between a third and forty percent’” of

immigrants crossing the southern boarder were “‘seeking to end up in Florida,’” and that

“‘divert[ing]’” immigrants “‘at the source’” lessens “‘the chance they end up in Florida.’” [Id.

¶ 180]. 9




9
 Plaintiffs aver that they were not asked by any Defendant whether they intended to go to
Florida. [Am. Compl. ¶ 181].

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        Plaintiffs also claim that other Defendants have celebrated and/or boasted about the

Flights, [Am. Compl. ¶¶ 186–188 (Uthmeier, Keefe, and Huerta)], and have taken steps to

continue transporting immigrants “to Martha’s Vineyard and elsewhere,” [id. ¶ 190]. For

example, Plaintiffs allege that “Huerta had an assistant continue to hand out her business cards to

immigrants in the San Antonio area,” Florida DOT has paid Vertol for additional flights, the

Florida DOT and Vertol have made arrangements for such flights, and Montgomerie has sent

messages to Keefe saying that Vertol “could pull off an additional mission.” [Id. ¶¶ 191–192].

Plaintiffs further assert that even if additional flights have not occurred as planned, Vertol has

additional funds from Florida DOT, “[n]one of the Defendants has indicated that future flights

will not occur,” and that instead DeSantis has said the “‘immigration relocation program remains

active’” and will continue until the $12 million Relocation Fund is “exhaust[ed].” [Id. ¶¶ 193–

196].

                       7.      Florida’s SB 6-B Law

        Though not addressed in the Amended Complaint, on February 15, 2023, Florida passed

SB 6-B, which repealed Section 285 and replaced it with a new program. See 2023 Fla. Laws

2023-3 (“SB 6-B”); [ECF No. 86 at 12–13]. 10 SB 6-B “defines an ‘inspected unauthorized alien’

as ‘an individual who has documentation from the United States Government indicating that the

United States Government processed and released him or her into the United States without

admitting the individual in accordance with the federal Immigration and Nationality Act.’” [ECF




10
  “A trial court may take judicial notice of adjudicative facts not subject to reasonable dispute
where, inter alia, they ‘can be accurately and readily determined from sources whose accuracy
cannot reasonably be questioned.’” Watson v. United States, 37 F.4th 22, 28 (1st Cir. 2022)
(quoting Fed. R. Evid. 201(b)(2)).

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   No. 86 at 13 (citing SB 6-B § 1(1))]. The bill creates the “Unauthorized Alien Transport

   Program . . . within the Division of Emergency Management within the Executive Office of the

   Governor for the purpose of facilitating the transport of inspected unauthorized aliens within the

   United States.” [Id. (citing SB 6-B § 1(3))]. SB 6-B further provides that “Section 185 . . . is

   repealed,” and that “[a]ll payments made pursuant to that section are deemed approved.” SB 6-B

  § 2.

              B.      Procedural History

          Plaintiffs filed the Amended Complaint on November 29, 2022. [ECF No. 21]. On

   February 28, 2023, Defendants moved to dismiss in three separate motions: (1) DeSantis,

   Perdue, Keefe, Uthmeier, the State of Florida, and the Florida Department of Transportation,

   [ECF No. 80]; (2) Montgomerie and Vertol, [ECF No. 82]; and (3) Huerta, [ECF No. 84].

  Plaintiffs opposed in a combined response on May 11, 2023, [ECF No. 98], and Defendants

  replied on June 16, 2023, [ECF Nos. 105 (State Defendants), 107 (Montgomerie and Vertol), 108

  (Huerta)]. Plaintiffs then filed a sur-reply on July 14, 2024. [ECF No. 111].

II.       MOTION TO DISMISS

              A.      PERSONAL JURISDICTION

                          1.     Legal Standard

          Personal jurisdiction refers to a court’s “power to require the parties to obey its [orders].”

   Hannon v. Beard, 524 F.3d 275, 279 (1st Cir. 2008) (quoting Daynard v. Ness, Motley, Loadholt,

   Richardson & Poole, P.A., 290 F.3d 42, 50 (1st Cir. 2002)). To establish personal jurisdiction




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here, 11 Plaintiffs “must satisfy both the forum state’s long-arm statute and the Due Process

Clause of the Fourteenth Amendment.” C.W. Downer & Co. v. Bioriginal Food & Sci. Corp.,

771 F.3d 59, 65 (1st Cir. 2014) (citing Ticketmaster-N.Y., Inc. v. Alioto, 26 F.3d 201, 204 (1st

Cir. 1994)).

        As a rule, Plaintiffs bear the burden of establishing that personal jurisdiction exists over

Defendants. Get In Shape Franchise, Inc. v. TFL Fishers, LLC, 167 F. Supp. 3d 173, 191 (D.

Mass. 2016) (citing Daynard, 290 F.3d at 50). “When a district court rules on a motion to

dismiss for lack of personal jurisdiction without holding an evidentiary hearing . . . , the ‘prima

facie’ standard governs its determination.” United States v. Swiss Am. Bank, Ltd., 274 F.3d

610, 618 (1st Cir. 2001). Under the prima facie standard, the plaintiff must proffer “evidence

which, if credited, is sufficient to support findings of all facts essential to personal jurisdiction.”

A Corp. v. All Am. Plumbing, Inc., 812 F.3d 54, 58 (1st Cir. 2016) (quoting Phillips v. Prairie

Eye Ctr., 530 F.3d 22, 26 (1st Cir. 2008)). “[P]laintiffs may not rely on unsupported allegations



11
   Though it is true that when a party asserts a federal question claim, a federal court can
“exercise personal jurisdiction over a defendant . . . if that defendant has sufficient contacts with
the United States as a whole,” where a federal statute does not provide for nationwide service,
Federal Rule of Civil Procedure 4(e) “allows extraterritorial service of process only to the extent
permitted by the law of the state in which the district court sits.” Lorelei Corp. v. Cnty. of
Guadalupe, 940 F.2d 717, 719–20 (1st Cir. 1991) (quoting Whistler Corp. v. Solar Elecs., Inc.,
684 F. Supp. 1126, 1128 (D. Mass. 1988) (citing Trans–Asiatic Oil Ltd. S.A. v. Apex Oil Co.,
743 F.2d 956, 959 (1st Cir. 1984))). Because “‘state statutes . . . cannot provide for service of
process on a defendant outside the respective states unless the defendant has had the contact with
that state that is required by the [F]ourteenth [A]mendment,’” id. at 720 (quoting Johnson
Creative Arts, Inc. v. Wool Masters, Inc., 743 F.2d 947, 950 (1st Cir. 1984), “Rule 4(e) actually
prescribes a two-step analysis” that is the same as the analysis in a diversity case: “[f]irst, the
federal court must determine whether the state’s ‘long arm’ or ‘doing business’ statute authorizes
it to exercise personal jurisdiction over the foreign defendant,” and “[i]f it does, the court must
then determine whether the exercise of personal jurisdiction under the circumstances is
consistent with due process under the [F]ourteenth [A]mendment,” id. (citing Whistler Corp.,
684 F. Supp. at 1129–31); see also United Elec., Radio and Mach. Workers of Am. v. 163
Pleasant St. Corp., 960 F.2d 1080, 1085–86 (1st Cir. 1992) (similar).
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in their pleadings,” and are instead “obliged to adduce evidence of specific facts” supporting

jurisdiction. Platten v. HG Berm. Exempted Ltd., 437 F.3d 118, 134 (1st Cir. 2006) (first

quoting Boit v. Gar-Tec Prods., Inc., 967 F.2d 671, 675 (1st Cir. 1992); and then quoting Foster-

Miller, Inc. v. Babcock & Wilcox Can., 46 F.3d 138, 145 (1st Cir. 1995)). The Court takes as

true whatever properly documented facts a plaintiff proffers, construes those facts in the light

most favorable to the plaintiff, and considers facts put forward by the defendant only to the

extent they are uncontradicted. See Prairie Eye Ctr., 530 F.3d at 26; Platten, 437 F.3d at 134.

       Moreover, the First Circuit has not adopted a conspiracy theory of jurisdiction, and the

Court therefore declines to adopt one here. In re TelexFree Secs. Litig., 626 F. Supp. 3d 253,

285 (D. Mass. 2022) (declining to apply a “conspiracy theory of jurisdiction” because “[t]he First

Circuit has not adopted this theory.”). Plaintiffs often refer in their Amended Complaint to

“Defendants” generally, without identifying which specific Defendants took particular actions.

See, e.g., [Am. Compl. ¶¶ 3, 73–74, 113–114, 135–136, 138, 145, 155–157, 159, 161–162, 165,

167–169, 172, 193]. Their opposition brief does the same. See [ECF No. 98 at 17–22]. In the

absence of a conspiracy theory of jurisdiction, these general allegations are not enough to

establish jurisdiction over Defendants. See In re TelexFree, 626 F. Supp. 3d at 285. The Court

therefore assesses personal jurisdiction for each Defendant individually.

                       2.      Massachusetts Long-Arm Statute

       “Because the [Massachusetts] long-arm statute imposes specific constraints on the

exercise of personal jurisdiction that are not coextensive with the parameters of due process, . . .

a determination under the long-arm statute is to precede consideration of the constitutional

question.” SCVNGR, Inc. v. Punchh, Inc., 85 N.E.3d 50, 52 (Mass. 2017). The Massachusetts

long-arm statute provides, as relevant here:

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       A court may exercise personal jurisdiction over a person, who acts directly or by
       an agent, as to a cause of action in law or equity arising from the person’s

       (a) transacting any business in this commonwealth; . . . [or]

       (c) causing tortious injury by an act or omission in this commonwealth[.]

Mass. Gen. Laws ch. 223A, § 3. 12

                               i.      Massachusetts General Laws ch. 223A, § 3(a)

       Under § 3(a), courts consider “whether the defendant attempted to participate in

[Massachusetts’s] economic life.” United Elec., 960 F.2d at 1087. Section 3(a)’s “reference to

‘transacting any business’ does not require that the defendant have engaged in commercial

activity. That language is general and applies to any purposeful acts by an individual, whether

personal, private, or commercial.” Ealing Corp. v. Harrods Ltd., 790 F.2d 978, 982 (1st Cir.

1986) (quoting Ross v. Ross, 358 N.E.2d 437, 439 (Mass. 1976)). “[T]he defendant’s

involvement need not be major, as ‘just a few acts on [his] part can often suffice to satisfy

[subsection (a)]’s threshold for transacting business.’” Scuderi Grp., LLC v. LGD Tech., LLC,

575 F. Supp. 2d 312, 319 (D. Mass. 2008) (quoting Workgroup Tech. Corp. v. MGM Grand

Hotel, LLC, 246 F. Supp. 2d 102, 110 (D. Mass. 2003)). Although “transacting business” “has

been construed broadly,” Tatro v. Manor Care, Inc., 625 N.E.2d 549, 551 (Mass. 1994) (citations

omitted), the test “is designed to identify deliberate, as distinguished from fortuitous, contacts

with the forum by the nonresident party,” Lyle Richards Int’l, Ltd. v. Ashworth, Inc., 132 F.3d

111, 112 (1st Cir. 1997).




12
   Plaintiffs only argue that the Court has personal jurisdiction over Defendants under § 3(a) and
(c). Thus, although Defendants discuss other subparts of § 3, see [ECF No. 86 at 19 (State
Defendants, § 3(d)); ECF No. 83 at 9–11 (Montgomerie and Vertol, § 3(b) and (d)); ECF No. 85
at 9–10 (Huerta, § 3(d))], the Court only analyzes § 3(a) and (c).
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       In addition, to establish that the court has personal jurisdiction under § 3(a), the cause of

action must “arise from . . . activities in Massachusetts.” See Workgroup Tech. Corp., 246 F.

Supp. 2d at 109. The “arising from” standard is not rigorous, Baskin–Robbins Franchising LLC

v. Alpenrose Dairy, Inc., 825 F.3d 28, 34 n.3 (1st Cir. 2016), and is “generously construed in

favor of asserting personal jurisdiction, by applying a ‘but for’ causation test,” Workgroup Tech.

Corp., 246 F. Supp. 2d at 112. Some courts have also explained the “arising from” inquiry as

asking whether “the defendant’s contacts with the Commonwealth constitute the first step in a

train of events that result[ed] in the . . . injury.” Lyle Richards, 132 F.3d at 114.

       Plaintiffs argue that Defendants conducted business in Massachusetts when they hired

and arranged for two planes to fly to Martha’s Vineyard, video crews to film Plaintiffs at the

Martha’s Vineyard Airport, and vans to transport Plaintiffs from Martha’s Vineyard airport; and

sought and benefited from media coverage of the events in Massachusetts. [ECF No. 98 at 18].

Although some or all of these contacts with Massachusetts may be sufficient to confer

jurisdiction under § 3(a), the facts alleged in the Amended Complaint do not allow the Court to

determine over which Defendants jurisdiction is proper, and Plaintiffs have not requested

jurisdictional discovery to aid in that inquiry.

       For example, the Individual State Defendants argue that Plaintiffs do not allege that they

engaged in any business transactions in Massachusetts at all, or that they hired the videographer,

video crews, or vans at Martha’s Vineyard airport. [ECF No. 105 at 3]. 13




13
   The State Defendants also argue that the Massachusetts long-arm statute does not give the
Court personal jurisdiction over them because they are not “persons,” and are therefore not
covered under the Massachusetts long-arm statute. [ECF No. 86 at 16]. The Court finds this
issue moot because there are no surviving claims against Florida and the Florida DOT, and

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       Huerta, for her part, argues that Plaintiffs do not allege that she “took part in any of th[e]

alleged actions” that they say confer jurisdiction under §3(a). [ECF No. 98 at 18; ECF No. 108

at 2–3 (emphasis omitted)].

       Vertol and Montgomerie similarly argue that “the relevant contracts for the transportation

at issue were bid on, awarded, and executed in Florida, . . . and that Plaintiffs agreed to be

transported while in Texas.” [ECF No. 83 at 8]. They further aver that “[p]erformance of those

agreements occurred predominantly” outside Massachusetts, and that the Flights only “briefly

landed in Massachusetts so that Plaintiffs could deplane.” [Id.]. In addition, they claim that

Plaintiffs do not allege that they “hired and arranged” the Flights, “hired video crews” or any

other Massachusetts business, or “sought to and did benefit from media coverage of these actions

in Massachusetts.” [ECF No. 107 at 3–4 (citing ECF No. 98 at 18)].

       Though Defendants do not need to have set foot in Massachusetts to have conducted

business for purposes of Mass. Gen. Laws ch. 223A, § 3, see In re TelexFree, 626 F. Supp. 3d at

281 (where individual entered into a contract with a Massachusetts-based company, finding

personal jurisdiction over that individual even though they were “located outside Massachusetts

when [they] rendered th[e relevant] advice,” because they “in effect delivered this advice to

Massachusetts, for use in Massachusetts”), none of the allegations that Plaintiffs point to—the

hiring of the planes, video crews, and vans, or seeking and benefiting from media coverage—and

none of the allegations in the Amended Complaint, provide the required “evidence of specific

facts” tying specific Defendants to specific actions to support jurisdiction. See Platten, 437 F.3d




Plaintiffs are only pursuing claims against DeSantis, Keefe, Uthmeier, and Perdue in their
individual capacities. See [ECF No. 98 at 16 n.4].

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at 134 (“[P]laintiffs may not rely on unsupported allegations in their pleadings,” and are instead

“obliged to adduce evidence of specific facts” supporting jurisdiction).

       For example, the Amended Complaint does not say whether any Individual State

Defendant, or an agent of an Individual State Defendant, hired the planes, video crews, and vans;

or whether they sought and benefited from media coverage while in Massachusetts from a

Massachusetts media company. 14 Similarly, the general allegation that “DeSantis’s office

arranged for Plaintiffs’ deplaning to be video recorded and promptly sent that video to Fox

News” does not tie any one of DeSantis, Perdue, Keefe, or Uthmeier, or one of their agents, to

any of these transactions that happened in Massachusetts. [Am. Compl. ¶ 148]. Also, a

reference to “DeSantis’s videographer,” without a name of the videographer and/or a description

of the relationship between DeSantis and the videographer, does not sufficiently connect

DeSantis or a DeSantis agent to the conduct in Massachusetts. [Id. ¶ 151].




14
   Though it is true that Plaintiffs make several allegations about the State Defendants approving
and funding Vertol, see, e.g., [Am. Compl. ¶¶ 25, 55–56], these allegations are not sufficiently
tied to the Individual State Defendants in their individual capacities. See Yellowbear v. Ashe,
612 Fed. App’x 918, 921 (10th Cir. 2015) (“[N]umerous courts, including our own, have held
that broad supervisory authority is insufficient to render [] government official[s] subject to
general personal jurisdiction in an individual capacity suit.” (citing Hill v. Pugh, 75 Fed. App’x.
715, 719 (10th Cir. 2003) (unpublished) (“It is not reasonable to suggest that federal prison
officials may be hauled into court simply because they have regional and national supervisory
responsibilities over facilities within a forum state.”); Nwanze v. Philip Morris Inc., 100 F. Supp.
2d 215, 220 (S.D.N.Y. 2000) (“Mere supervision over the Bureau of Prisons, the reach of which
extends into every state, is insufficient to establish a basis for the exercise of personal
jurisdiction.”); Wag–Aero, Inc. v. United States, 837 F. Supp. 1479, 1485 (E.D. Wis. 1993)
(“[T]he mere fact that federal government officials enforce federal laws and policies or supervise
personnel and personnel training on a nationwide basis is not sufficient in and of itself to
confer personal jurisdiction in a lawsuit which seeks money damages against those same
governmental officials in their individual capacities.”)).

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       The same is true for Huerta. There are no allegations in the Amended Complaint that

specifically connect Huerta or an agent of Huerta to any of the alleged business conducted in

Massachusetts, or describe any “participat[ion]” by Huerta “in [Massachusetts’s] economic life.”

See United Elec., 960 F.2d at 1087.

       Plaintiffs have also failed to sufficiently connect Vertol, Montgomerie, 15 or one of their

agents to business transactions in Massachusetts. The only transactions highlighted by Plaintiffs

that are specifically tied to Vertol and Montgomerie are the “hir[ing] and arrang[ing] for two

planes to fly to and land in Martha’s Vineyard.” [ECF No. 98 at 18]. That the Flights landed in

Martha’s Vineyard likely means that someone paid to use the airport facilities in Massachusetts,

but the Court cannot assume that Vertol, Montgomerie, or their agent(s) personally participated

in any such transaction. Thus, without more, the Court cannot find that there is “evidence of

specific facts” supporting jurisdiction over Vertol or Montgomerie under § 3(a). See Platten, 437

F.3d at 134.

                              ii.     Massachusetts General Laws ch. 223A, § 3(c)

       Mass. Gen. Laws ch. 223A, § 3(c) requires a showing that a defendant (1) did some act in

Massachusetts, that (2) caused the plaintiff harm in Massachusetts. See Collision Commc’ns,

Inc. v. Nokia Sols. & Networks Oy, 485 F. Supp. 3d 282, 293 (D. Mass. 2020) (“[S]ection 3(c)

requires a well-pleaded allegation that a defendant did some act in the Commonwealth that

caused the plaintiff harm.” (quoting Noonan v. Winston Co., 902 F. Supp. 298, 306 (D. Mass.




15
  Regarding Montgomerie, “‘jurisdiction over the individual officers of a corporation may not
be based merely on jurisdiction over the corporation.’” Carp v. XL Ins., 754 F. Supp. 2d 230,
232 (D. Mass. 2010) (quoting Escude Cruz v. Ortho Pharm. Corp., 619 F.2d 902, 906 (1st Cir.
1980)). Thus, “[t]here must be an independent basis for jurisdiction over” Montgomerie. Id.

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1995) (emphasis and alteration in original))); Frederick v. U.S. Olympic Comm., No. 18-cv-

11299, 2022 WL 4356468, at *5 (D. Mass. Sept. 20, 2022) (“Section 3(c) ‘is intended to apply

only when the act [or omission] causing the injury occurs within the Commonwealth.’ . . . ‘To

give [§ 3(c)] any broader meaning would render § 3(d) a nullity.’” (first quoting Hussain v. R.I.

Hosp., 2019 WL 3546888, at *4 (D. Mass. June 12, 2019); and then quoting Murphy v. Erwin-

Wasey, Inc., 460 F.2d 661, 664 (1st Cir. 1972))). As with § 3(a), Plaintiffs also have the burden

under § 3(c) to show that the cause of action “aris[es] from” activities in Massachusetts.” See

Workgroup Tech. Corp., 246 F. Supp. 2d at 109.

        Here, Plaintiffs argue that Defendants falsely imprisoned them in Massachusetts shortly

before and after the Flights landed, and that that should end the § 3(c) inquiry. [ECF No. 98 at

19]. Plaintiffs also aver that they were “abandoned and humiliated in a publicity stunt contrived

for DeSantis’s personal and political gain,” and that the “false imprisonment, fraud, and

infliction of emotional distress were not complete until Plaintiffs were in Massachusetts.” [Id. at

20]. They further assert that Defendants “purposefully directed [their conduct] at

[Massachusetts] and intended to cause injury there,” which, they say, is sufficient to confer

personal jurisdiction under § 3(c). [Id. (quoting Ticketmaster-N.Y., 26 F.3d at 205) (alterations

in Plaintiffs’ brief)].

        The Individual State Defendants aver that the Court does not have personal jurisdiction

over them under § 3(c) because their alleged acts all took place in Texas or Florida, there “was

no injury in Massachusetts,” and even if there were an injury, their “‘contacts with the

Commonwealth [did not] constitute the first step in a train of events that resulted in [an] injury’

in Massachusetts.” [ECF No. 86 at 18–19 (quoting O’Grady v. Safety-Kleen Sys., Inc., No. 19-

cv-11814, 2020 WL 1514604, at *4 (D. Mass. Mar. 30, 2020))].

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        Huerta similarly claims that she took no action in Massachusetts, [ECF No. 85 at 9; ECF

No. 108 at 3–4], “did not direct any conduct at Massachusetts,” [ECF No. 108 at 4], and in any

event, Plaintiffs do not allege that she made any representation to Plaintiffs while she or they

were in Massachusetts, [ECF No. 108 at 4–6 (citing Murphy, 460 F.2d at 664 (court may have

jurisdiction under § 3(c) “[w]here a defendant knowingly sends into a state a false statement,

intending that it should there be relied upon to the injury of a resident of that state.”))].

        Finally, Vertol and Montgomerie argue that “Plaintiffs fail to allege that the Vertol

Defendants committed any of the allegedly tortious conduct in Massachusetts.” [ECF No. 83 at

9 (emphasis in original)]. Instead, they aver that the alleged “fraudulent statements, selecting

migrants for discriminatory reasons, conspiring with Florida officials, and so on—are alleged to

have occurred in Florida and Texas, well before Plaintiffs ever set foot in Massachusetts.” [Id. at

10]. Further, they claim that “Plaintiffs have not adequately alleged that their injuries occurred

in Massachusetts,” and that “[a]t most, Plaintiffs allege that they felt the effects of out-of-state

conduct here in the Commonwealth.” [Id.]. Finally, they allege that their contacts with

Massachusetts, if anything, were the “last step” in a chain of causation, not the first step as

required by the “arising from” inquiry under § 3. [ECF No. 107 at 5].

        As an initial matter, the Plaintiffs have adequately alleged at least some injuries in

Massachusetts. See Frederick, 2022 WL 4356468, at *5 (Section 3(c) injury must occur in

Massachusetts). Among other things, they (1) received deceiving brochures on the Flights while

en route to Massachusetts, [Am. Compl. ¶¶ 134–141]; (2) were trapped on the Flights with no

ability to refuse transportation to the island, [id. ¶ 146]; (3) felt helpless, defrauded, desperate,

anxious, and confused upon arrival, [id. ¶¶ 156, 160, 164]; and (4) as a result, they suffered lack

of sleep, vertigo, emotional and economic harm, [id. ¶¶ 156–157, 161, 165–166]. Thus, this case

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is different from Tomas v. Buckley, where a car accident that was the subject of the lawsuit

occurred in Rhode Island, and the Plaintiff merely sought treatment and experienced the effects

of the accident in Massachusetts. No. 19-cv-12079, 2020 WL 2616304, at *4 (D. Mass. May 22,

2020). It is also different from Cunningham v. Ardrox, Inc., which concerned a plaintiff who

was fired from his job when he lived in Chicago, and then moved to Massachusetts, where he

experienced financial harm as a result of the firing. 663 N.E.2d 577, 578, 580 (Mass. App. Ct.

1996). Here, the Court finds that Plaintiffs were, in fact, injured in Massachusetts.

       Turning to whether the act that caused the injury took place in Massachusetts, see

Collision Commc’ns, 485 F. Supp. 3d at 293, as an initial matter, “an allegedly tortious act

committed outside the borders of Massachusetts, purposefully directed at the state and intended

to cause injury there, could constitute an in-forum act within the meaning of section 3(c),”

Ticketmaster-N.Y., 26 F.3d at 205 (citing Murphy, 460 F.2d at 664). For example, “[w]here a

defendant knowingly sends into a state a false statement, intending that it should there be relied

upon to the injury of a resident of that state, he has, for jurisdictional purposes, acted within that

state.” Murphy, 460 F.2d at 664. The First Circuit, however, has expressed “profound

reservations about extending the Murphy rationale” beyond the false representation context.

Ticketmaster-N.Y., 26 F.3d at 205; see also Frederick v. Carlson, No. 18-cv-11299, 2023 WL

2333499, at *5 (D. Mass. Mar. 2, 2023) (similar). Given the apparent limitation to false

representations, the Court here finds that acts outside Massachusetts related to the deceiving

brochure could lead to jurisdiction under § 3(c), [Am. Compl. ¶¶ 134–142], but acts related to

the other causes of actions must have occurred in Massachusetts.

       Regarding the Individual State Defendants, Huerta, and Montgomerie, for largely the

same reasons discussed above for § 3(a), the Court finds that Plaintiffs have not alleged facts

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showing acts in Massachusetts sufficient to confer jurisdiction under § 3(c). For example, there

are no allegations that any Individual State Defendant or their agent(s) directly engaged with

Plaintiffs in any way, created or provided Plaintiffs with any information (including the

brochures), were present with Plaintiffs on the planes when they were in Massachusetts or on

Martha’s Vineyard, hired the planes, video crews, and van, or sought and benefitted from media

coverage in Massachusetts from a Massachusetts media company. 16

       Similarity, Huerta and Montgomerie did not travel with Plaintiffs to Massachusetts, there

is no allegation that they created or provided Plaintiffs with the deceiving brochures, 17 and there

are no allegations connecting them to the Flights while they were in Massachusetts, hiring the

video crews and van, or seeking media coverage. The Court therefore finds insufficient facts to

exercise jurisdiction over the Individual State Defendants, Huerta or Montgomerie under § 3(c).

Accordingly, Plaintiffs have failed to show that personal jurisdiction exists over the Individual

State Defendants, Huerta and Montgomerie, and thus the Amended Complaint is DISMISSED

without prejudice as to those Defendants.

       Regarding Vertol, its planes, with at least one of its employees on board, flew into and

landed in Massachusetts, where the injuries described above occurred. [Am. Compl. ¶¶ 147,




16
  Though Defendant Keefe was on one of the planes, he got off in Florida, and was therefore not
present with Plaintiffs in Massachusetts. [Am. Compl. ¶ 131].
17
  That “the brochure echoed many of the false representations and promises that Defendant
Huerta made to [] Plaintiffs in Texas to induce them to accept her offers of transportation” is
insufficient for the Court to find that Huerta played a role in creating or distributing the brochure.
[Am. Compl. ¶ 141].

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150]. 18 The Court finds that these acts, which took place in Massachusetts, are sufficient for

purposes of § 3(c).

       The question, then, is whether the causes of action against Vertol “aris[e] from” its

activities in Massachusetts. See Workgroup Tech. Corp., 246 F. Supp. 2d at 109. Defendants

suggest that the Court should take a strict view of the “first step” standard described in Lyle

Richards and Tatro. See, e.g., [ECF No. 107 at 5 (citing Lyle Richards, 132 F.3d at 112 (“‘but

for’ causation test” asks if “the defendant’s contacts with the Commonwealth constitute ‘the first

step in a train of events that result[ed] in the personal injury.’” (quoting Tatro, 625 N.E.2d at

553.))]. In other words, Defendants aver that there is just one “first step” that leads to a cause of

action, and because the overall scheme in this case began in Texas or Florida, “any action by a

Vertol Defendant in Massachusetts was the last step,” not the first, “in a chain of causation

leading to Plaintiffs’ alleged injuries.” [Id. (emphasis in original)].

       In contrast, Plaintiffs aver that the “‘“arising from” clause in [the long-arm statute] is . . .

generously construed in favor of asserting personal jurisdiction, by applying a “but for”

causation test[,]’” and that “Plaintiffs easily meet this: but for Defendants’ intentional and

tortious actions, Plaintiffs would not have suffered violations of their civil and constitutional



18
   Plaintiffs also received the deceiving brochures on Vertol’s planes and brought them into
Massachusetts. [Am. Compl. ¶¶ 134–146]. That said, there is no allegation tying the brochures
to Vertol or its employees. Moreover, though it does not need to reach the issue here, the Court
notes that while Plaintiffs argue in their briefing that “many of the [Plaintiffs] are now residents
of Massachusetts,” [ECF No. 98 at 27], this fact is not alleged in the Amended Complaint, and
State Defendants contest it, [ECF No. 105 at 8]. Thus, the Court is unable to find that Plaintiffs
have met their burden to allege specific facts supporting that Plaintiffs are residents of
Massachusetts, see Platten, 437 F.3d at 134, which weighs against a finding of jurisdiction under
§3(c) with respect to the deceiving brochures, see Collision Commc’ns, 485 F. Supp. 3d at 293
(reasoning that the court did not have jurisdiction under §3(c) in part because Plaintiff was not a
resident of Massachusetts).

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rights, nor would they have traveled to, let alone been abandoned on, Martha’s Vineyard.” [ECF

No. 98 at 21 (quoting Workgroup Tech. Corp., 246 F. Supp. 2d at 112)].

        The Court finds that, “[g]enerously constru[ing]” the “arising from” standard “in favor of

asserting personal jurisdiction,” Workgroup Tech. Corp., 246 F. Supp. 2d at 112, Defendants’

interpretation of the requirement here is overly strict. The standard does not contemplate there

being only one first step in any particular series of events, but rather requires a “first step in a

train of events that result[ed] in the personal injury.” Tatro, 625 N.E.2d at 553 (emphasis

added). In other words, there can be multiple trains of events that lead to a personal injury.

        For example, in Access Now Inc. v. Otter Products, LLC, another session of this court

found that a cause of action for discrimination under the ADA “arose” at the time the harm

occurred, which was the moment a blind individual was denied access to a website. 280 F. Supp.

3d 287, 292 (D. Mass. 2017) (“Because the harm—the denial of access to the website—occurred

in the Commonwealth, the injury arises from [defendant]’s transaction of business via its website

in the Commonwealth”). There, the website was managed from Colorado and California, and

the defendant company’s only employee in Massachusetts was in marketing, not website design

or management. Id. at 290. The court, however, did not focus on where the decision was made

to create an inaccessible website, where the website was created, or where the decision was made

to make the website available in Massachusetts, all of which occurred before the injury and could

have been considered the first step in a train of events that resulted in the injury. See generally

id.

        Similarly, in Nandjou v. Marriot International, Inc., Plaintiff relied on advertisements

sent to Massachusetts in deciding to book a room at defendant’s hotel, and then was physically




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injured at defendant’s hotel. No. 18-cv-12230, 2019 WL 2918043, at *5 (D. Mass. July 8, 2019).

There, this Court found that

          [t]he Massachusetts long-arm statute is easily satisfied here because Marriott’s
          advertisements of the Reluxicorp hotel in Massachusetts, which were made
          pursuant to the Franchise Agreement between Reluxicorp and Marriott, were sent
          directly to Plaintiff in Massachusetts and were the first step in a train of events that
          led to Plaintiff’s injury. Because the advertisements sent to Massachusetts are a
          but-for cause of the injury, the long-arm statute is satisfied.

Id. There, instead of relying on the location of the franchise agreement or the creation of the

advertisements, the Court instead focused on where the advertisements were received and read.

See id.

          This case is different from Mora v. Angiodynamics, Inc., No. 21-cv-11352, 2021 WL

5040333 (D. Mass. Oct. 28, 2021), which Vertol cites in favor of its strict interpretation of the

“arising from” requirement. See [ECF No. 107 at 5–6]. There, the plaintiff was injured by the

defendant’s medical device in Texas. Mora, 2021 WL 5040333, at *1. The plaintiff argued that

the defendant had several business contacts in Massachusetts, including “marketing, scientific

and clinical affairs, and regulatory activities[.]” See id. at *4. The Court found that the plaintiff

did not meet his burden as to the “arising from” requirement because Plaintiff did not plead

specific facts that any of these business activities were related to the device that caused the

injury. See id.

          This case is more like Access Now and Nandjou than Mora. Regardless of where the

plan to send Plaintiffs to Massachusetts was hatched and initiated, Vertol’s planes entered

Massachusetts with Plaintiffs on board and landed at a Massachusetts airport, see [Am. Compl.

¶ 147], and entering Massachusetts and landing here were first steps in a chain of events that

resulted in Plaintiffs’ Massachusetts-based injuries.



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       Vertol next argues that even if its actions do satisfy §3(c), they would “establish personal

jurisdiction only for [a] limited subset of Plaintiffs’ claims,” namely the false imprisonment

(Count VIII), fraud (Count IX), and infliction of emotional distress claims (Counts X & XI).

[ECF No. 107 at 5 (citing Debreceni v. Bru-Jell Leasing Corp., 710 F. Supp. 15, 19 (D. Mass.

1989) (“Jurisdiction over one claim does not imply jurisdiction over another. A party may not

rely on the doctrine of pendent jurisdiction to obtain personal jurisdiction over a defendant.”)].

       As an initial matter, Defendants take an overly narrow view of the allegations in Counts I

(Violation of Fourteenth Amendment to the U.S. Constitution, Substantive Due Process Pursuant

to 42 U.S.C. § 1983), V (Violation of Fourteenth Amendment to the U.S. Constitution;

Procedural Due Process Pursuant to 42 U.S.C. § 1983), VI (Violation of Fourth Amendment to

the U.S. Constitution, Unlawful Seizure Pursuant to 42 U.S.C. § 1983), VII (Violation of 42

U.S.C. § 1985(3); Civil Rights Conspiracy), XII (Civil Conspiracy), and XIII (Aiding and

Abetting). Each of these claims, as alleged, relies at least in part on Vertol’s planes entering

Massachusetts with Plaintiffs on board, resulting in Massachusetts-based injuries:

           •   Count I (Violation of Fourteenth Amendment to the U.S. Constitution,

               Substantive Due Process Pursuant to 42 U.S.C. § 1983): Plaintiffs allege that they

               were “taken against their will to Martha’s Vineyard, Massachusetts,” [Am.

               Compl. ¶ 219], “were unable to leave the island because the island is accessible

               only by plane or boat, and they lacked the resources to arrange for transportation

               off the island,” [id. ¶ 220], and “Defendants’ calculated scheme, undertaken in

               bad faith and with wanton indifference to [] Plaintiffs’ well-being, deprived []

               Plaintiffs of their most basic liberty interests, including, but not limited to, their

               freedom of movement and their human dignity.” [Id. at 222].

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  •   Count V (Violation of Fourteenth Amendment to the U.S. Constitution;

      Procedural Due Process Pursuant to 42 U.S.C. § 1983): Plaintiffs allege that, for

      example, “Defendants deceived [] Plaintiffs and stranded them on Martha’s

      Vineyard, thereby interfering with [] Plaintiffs’ ability to participate in their

      federal immigration proceedings. . . .” [Am. Compl. ¶ 256].

  •   Count VI (Violation of Fourth Amendment to the U.S. Constitution, Unlawful

      Seizure Pursuant to 42 U.S.C. § 1983): Plaintiffs allege that their “freedom of

      movement was constrained” and that “Defendants terminated [] Plaintiffs’

      constitutionally protected freedom of movement.” [Am. Compl. ¶¶ 264, 266].

  •   Count VII (Violation of 42 U.S.C. § 1985(3); Civil Rights Conspiracy): Plaintiffs

      allege that “Defendants took [] Plaintiffs to Martha’s Vineyard, and there were no

      jobs, services, or benefits awaiting them. Defendants did not alert anyone on

      Martha’s Vineyard with the capacity to provide jobs, services, or benefits of []

      Plaintiffs’ impending arrival,” [Am. Compl. ¶ 275]; and that “Defendants

      intended for [] Plaintiffs to be stranded without resources on Martha’s Vineyard to

      send a message about immigration at the U.S. southern border and to raise

      Defendant DeSantis’s political profile.” [Id. ¶ 276].

  •   Count XII (Civil Conspiracy): Plaintiffs allege that “Defendants took [] Plaintiffs

      to Martha’s Vineyard, and Defendants did not arrange for any jobs, services, or

      benefits for [] Plaintiffs on Martha’s Vineyard. Defendants did not even alert

      anyone with the capacity to provide [] Plaintiffs with jobs, services, or benefits on

      Martha’s Vineyard of [] Plaintiffs’ arrival,” [Am. Compl. ¶ 322], and that

      “Defendants intended for [] Plaintiffs to be stranded without resources, food, or

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               shelter on Martha’s Vineyard to convey a political message about the impacts of

               immigration on border states and to raise Defendant DeSantis’s political profile.”

               [Id. ¶ 323].

           •   Count XIII (Aiding and Abetting): Plaintiffs allege that “Defendants took []

               Plaintiffs to Martha’s Vineyard, and Defendants did not arrange for any jobs,

               services, or benefits for [] Plaintiffs on Martha’s Vineyard. Defendants did not

               even alert anyone with the capacity to provide [] Plaintiffs jobs, services, or

               benefits on Martha’s Vineyard of [] Plaintiffs’ arrival,” [Am. Compl. ¶ 332]; and

               that “Defendants intended for [] Plaintiffs to be stranded without resources, food,

               or shelter on Martha’s Vineyard to convey a political message about the impacts

               of immigration on border states and to raise Defendant DeSantis’s political

               profile.” [Id. ¶ 333].

       Regarding the only remaining count against Vertol, Count II (Violation of Fourteenth

Amendment to the U.S. Constitution, Equal Protection Clause Pursuant to 42 U.S.C. § 1983), the

First Circuit has not decided “whether pendent personal jurisdiction exists.” Mojtabai v.

Mojtabai, 4 F.4th 77, 88 (1st Cir. 2021). That said, where it does exist, “[t]he traditional

application of pendent personal jurisdiction arises when ‘one or more federal claims for which

there is nationwide personal jurisdiction are combined in the same suit with one or more state or

federal claims for which there is not nationwide personal jurisdiction.’” Id. at 89 n.6 (first citing

Action Embroidery Corp. v. Atl. Embroidery, Inc., 368 F.3d 1174, 1180–81 (9th Cir. 2004); then

citing IUE AFL-CIO Pension Fund v. Herrmann, 9 F.3d 1049, 1056–57 (2d Cir. 1993); and then

citing 4B Charles Alan Wright et al., Fed. Prac. and Proc. § 1125 (4th ed. 2015)). That is not the




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case here, and thus the Court will not exercise pendent personal jurisdiction over Count II based

on § 3(c). 19

        As to all of the other claims against Vertol, however, Vertol’s connections to

Massachusetts are a but-for cause of Plaintiffs’ injuries, and thus the requirements of § 3(c) are

met with respect to Vertol.

        With respect to the other Defendants, for jurisdiction, the Massachusetts long-arm

statute requires that a defendant “transact[] business” or “caus[e] tortious injury by an act

or omission” in Massachusetts. Mass. Gen. Laws ch. 223A, § 3. The Court, as it must,

credits Plaintiffs’ well-pleaded allegations that Defendants, as a group, deceived

vulnerable and desperate people into getting on planes with promises of food, shelter, and

employment when in fact they were being dumped on an isolated island, where no one

was expecting them, as part of a political stunt. The Court also credits Plaintiffs’ well-

pleaded allegations concerning the harm caused to the Plaintiffs by Defendants’ actions.

That said, on the present record, the Court cannot ascertain what actions were undertaken

by whom and therefore cannot determine which, if any, of the individual Defendants




19
   The Court notes that several other Circuits have “adopt[ed] the doctrine of pendent personal
jurisdiction,” Action Embroidery, 368 F.3d at 1181, and the Tenth Circuit has said that “[t]he
majority of federal district courts and every circuit court of appeals to address the question have
upheld the application of pendent personal jurisdiction, and we see no reason why, in certain
situations, the assertion of pendent personal jurisdiction would be inappropriate,” United States
v. Botefuhr, 309 F.3d 1263, 1273 (10th Cir. 2002). In addition, in both Action Embroidery and
Botefuhr, the courts found that whether to exercise pendent personal jurisdiction over a claim is a
matter of discretion for the district court. See Action Embroidery, 368 F.3d at 1181; Botefuhr,
309 F.3d at 1273. Were the First Circuit to adopt the doctrine of pendent personal jurisdiction,
this would seem like the appropriate case in which to apply the doctrine, where the Court has
personal jurisdiction over several closely related claims surrounding the same event.
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transacted business or caused injury here, leaving it no choice but to find that, at least on

this record, personal jurisdiction has not been established.

                         3.     Due Process

          The First Circuit has recognized that a court may, consistent with due process, exercise

two types of jurisdiction: general or specific. See United Elec., 960 F.2d at 1088–89

(distinguishing the two types of personal jurisdiction). Under “general [personal] jurisdiction, in

which the cause of action may be unrelated to the defendant’s contacts, the defendant must have

continuous and systematic contacts with the state.” Harlow v. Child.’s Hosp., 432 F.3d 50, 57

(1st Cir. 2005). To establish specific personal jurisdiction, the Plaintiff bears the burden of

establishing a “demonstrable nexus” between his claims and the defendant’s forum-state

contacts. Swiss Am. Bank, 274 F.3d at 618 (quoting Mass. Sch. of L. at Andover, Inc. v. Am.

Bar Ass’n, 142 F.3d 26, 34 (1st Cir. 1998)). Here, the Court focuses its analysis on specific

personal jurisdiction, which exists when (1) the plaintiff’s claim arises out of, or relates to, the

defendant’s activities in the forum, (2) the defendant’s forum-state contacts “represent a

purposeful availment of the privilege of conducting activities in that state,” and (3) the exercise

of specific jurisdiction is reasonable. Kuan Chen v. U.S. Sports Acad., Inc., 956 F.3d 45, 59 (1st

Cir. 2020) (citing Scottsdale Cap. Advisors Corp. v. The Deal, LLC, 887 F.3d 17, 20 (1st Cir.

2018)).

                                i.      Relatedness

          “To satisfy the relatedness prong, [a plaintiff] must show a nexus between his claim and

the defendants’ forum-based activities. That means that ‘[t]he plaintiff’s claims . . . “must arise

out of or relate to the defendant’s contacts” with the forum.’” Rodríguez-Rivera v. Allscripts

Healthcare Sols., Inc., 43 F.4th 150, 160–61 (1st Cir. 2022) (first citing A Corp., 812 F.3d at 59;

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and then quoting Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 592 U.S. 351, 359 (2021)). “To

determine relatedness for tort claims under the requirements of the Due Process Clause, [the

Court] ‘must probe the causal nexus between the defendant’s contacts and the plaintiff’s cause of

action.’” Vapotherm, Inc. v. Santiago, 38 F.4th 252, 260 (1st Cir. 2022) (quoting Phillips Exeter

Acad. v. Howard Phillips Fund, 196 F.3d 284, 289 (1st Cir. 1999)). 20 “The relatedness standard

is a ‘flexible, relaxed standard.’” Driscoll v. McCann, 505 F. Supp. 3d 32, 40 (D. Mass. 2020)

(quoting Adelson v. Hananel, 510 F.3d 43, 49 (1st Cir. 2007)).

       Vertol argues that “the Amended Complaint does not allege tortious conduct by the

Vertol Defendants in Massachusetts that ‘gave birth to’ Plaintiffs’ causes of action,” or that was

a “substantial factor in bringing about [Plaintiffs’] harm.” [ECF No. 83 at 12 (quoting Driscoll,

505 F. Supp. 3d at 40)]. In response, Plaintiffs aver that their “injuries arise from state law-based

torts as well as civil rights and constitutional violations that were caused by Defendants’

intentional and fraudulent inducement to and abandonment in Massachusetts,” and that “but for

the Defendants’ calculated scheme to send Plaintiffs to Massachusetts, they would not have

suffered tortious, civil rights, and constitutional violations.” [ECF No. 98 at 23].

       As explained above, but for Vertol sending its planes into Massachusetts, the

Massachusetts-based injuries alleged in Counts I and V–XIII would not have occurred. See

supra. This is in contrast to the Defendant in Driscoll, who had been “mere[ly] presen[t]” in

Massachusetts, and that “mere presence . . . was not a ‘substantial factor’ in bringing about [the

alleged] harm.” 505 F. Supp. 3d at 40. As alleged here, Vertol’s sending its planes into

Massachusetts is enough to establish a “causal nexus between the defendant’s contacts and the



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 “[S]ection 1983 claims have been analogized to tort claims for personal jurisdiction analysis.”
Hannon, 524 F.3d at 282.
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plaintiff[s’] cause of action,” Vapotherm, 38 F.4th at 260 (1st Cir. 2022) (quoting Phillips Exeter

Acad., 196 F.3d at 289), and thus the Court finds the relatedness prong is satisfied.

                               ii.     Purposeful Availment

       The purposeful availment requirement ensures that the exercise of jurisdiction is
       essentially voluntary and foreseeable, and is not premised on a defendant’s
       “random, fortuitous, or attenuated contacts[.]” “[T]he Supreme Court has
       explained that ‘the foreseeability that is critical to due process analysis . . . is that
       the defendant’s conduct and connection with the forum State are such that he should
       reasonably anticipate being haled into court there.’”

Knox v. MetalForming, Inc., 914 F.3d 685, 691 (1st Cir. 2019) (first citing C.W. Downer, 771

F.3d at 66; then quoting Carreras v. PMG Collins, LLC, 660 F.3d 549, 555 (1st Cir. 2011); and

then quoting PREP Tours, Inc. v. Am. Youth Soccer Org., 913 F.3d 11, 20 (1st Cir. 2019)).

       Vertol argues in a footnote that “Plaintiffs cannot satisfy . . . [the] purposeful availment”

prong because “[p]erforming a Florida contract for transportation from Texas and Florida to

another state does not lead to the conclusion that one would expect to be sued in the other state if

the transportation successfully terminated there.” [ECF No. 83 at 12 n.5]. Plaintiffs respond that

“Defendants sent [] Plaintiffs to Massachusetts, and abandoned them for the personal political

gain of DeSantis. Far from being an unexpected consequence, those benefits were the intended

point of the scheme.” [ECF No. 98 at 24]. Perhaps conceding the point, Vertol does not reply.

       The Court agrees with Plaintiffs. Vertol specifically targeted Massachusetts as the

destination for the Flights. See, e.g., [Am. Compl. ¶¶ 51, 53]. Thus, its decision to send

Plaintiffs to this state was not “random, fortuitous, or attenuated,” and Vertol should have

reasonably anticipated being haled to court here to answer for any injuries that Plaintiffs suffered

as a result of its conduct. See Knox, 914 F.3d at 691.




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                               iii.   Reasonableness

       Turning to the last prong of the analysis, the First Circuit has identified the following

“Gestalt factors” to guide the reasonableness inquiry:

       (1) the defendant’s burden of appearing, (2) the forum state’s interest in
       adjudicating the dispute, (3) the plaintiff’s interest in obtaining convenient and
       effective relief, (4) the judicial system’s interest in obtaining the most effective
       resolution of the controversy, and (5) the common interests of all sovereigns in
       promoting substantive social policies.

Pritzker v. Yari, 42 F.3d 53, 63–64 (1st Cir. 1994) (citation omitted). As with the purposeful

availment prong, Vertol relegates its reasonableness argument to a footnote in which they state

that “jurisdiction [would not] be reasonable given the limited nature of the contact at issue,

especially since the material events alleged indisputably occurred elsewhere.” [ECF No. 83 at

12 n.5]. Plaintiffs respond that, among other things, “Massachusetts has a significant interest in

ensuring that out-of-state defendants do not use the Commonwealth to abuse already vulnerable

human beings for personal or political gains[,]” and that “transfers of persons into

Massachusetts, or any of the other several states of the United States, should not be done in a

fraudulent manner that uses human beings as pawns for personal or political gains.” [ECF No.

98 at 26–27]. Again apparently conceding the point, Vertol does not reply.

       Absent argument from Vertol to the contrary, the Court finds that nearly all of the

reasonableness factors support finding that the exercise of personal jurisdiction over Vertol in

this case is reasonable. See Pritzker, 42 F.3d at 63–64. As some examples, there is no indication

that it will be burdensome for Vertol to appear in Massachusetts, Plaintiffs have chosen this

forum for their dispute, and Massachusetts has a direct interest in this case because it was

specifically chosen by Vertol and other Defendants to be the place where they brought and




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ultimately abandoned Plaintiffs. Accordingly, the Court finds that it is reasonable to exercise

jurisdiction over Vertol.

       In sum, the Court finds that it may exercise personal jurisdiction over Vertol with respect

to Counts I and V–XIII.

           B.        Venue

       Vertol next argues that Massachusetts is an improper venue for this case. [ECF No. 83 at

13–14]. As relevant here, a civil action may be brought in “a judicial district in which a

substantial part of the events or omissions giving rise to the claim occurred.” 28 U.S.C.

§ 1391(b)(2). In the First Circuit, courts do not look “to a single ‘triggering event’ prompting the

action, but to the entire sequence of events underlying the claim,” Astro-Med, Inc. v. Nihon

Kohden Am., Inc., 591 F.3d 1, 12 (1st Cir. 2009) (quoting Uffner v. La Reunion Francaise, S.A.,

244 F.3d 38, 42 (1st Cir. 2001)), “take[] a ‘holistic view of the acts underlying a claim,’” id.

(quoting Uffner, 244 F.3d at 43 n.6), and “are not required to determine the best venue, merely a

proper venue,” id.

       Vertol avers that Massachusetts is an improper venue because no Defendants reside in

Massachusetts, “virtually none of the material events in this case occurred” in Massachusetts,

and the case should be dismissed because it “is plain on the face of the Amended Complaint”

that it was intentionally filed in the wrong venue. [ECF No. 83 at 13–14]. In response, Plaintiffs

argue that they “were falsely imprisoned and injured here, both of which constitute a significant

and substantial event in the eyes of Massachusetts law.” [ECF No. 98 at 28].

       In Astro-Med, the First Circuit affirmed a finding that venue was proper in the district in

which “the tortious interference and misappropriation of trade secrets occurred and where the

harms from these torts were felt.” 591 F.3d at 12. Similarly here, as discussed above, Vertol’s

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planes entered Massachusetts, with Plaintiffs on board, resulting in Massachusetts-based injuries.

See supra. Viewing the claims holistically, a substantial part of the events that gave rise to the

claims occurred in Massachusetts, and thus Massachusetts is a proper venue.

            C.      Standing

        In order to have standing to bring a claim, a “plaintiff must have (1) suffered an injury in

fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to

be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338

(2016). “The plaintiff, as the party invoking federal jurisdiction, bears the burden of establishing

these elements,” and “at the pleading stage, the plaintiff must ‘clearly . . . allege facts

demonstrating’ each element.” Id. (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)).

        Here, the primary and relevant dispute boils down to whether Alianza has organizational

standing to seek prospective, class-based relief, 21 which “is analyzed under the same inquiry as

individual standing.” Equal Means Equal v. Ferriero, 478 F. Supp. 3d 105, 120 (D. Mass. 2020).

                        1.      Injury in Fact

        “An injury-in-fact is the invasion of a legally protected interest that is both ‘concrete and

particularized’ and ‘actual or imminent,’ as opposed to ‘conjectural or hypothetical.’

Concreteness and particularity are two separate requirements.” Lyman v. Baker, 954 F.3d 351,

360 (1st Cir. 2020) (first quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)

(internal quotation marks omitted); and then citing Spokeo, 578 U.S. at 334). Also, as relevant

here, an advocacy organization can establish that it suffered an injury by showing that “its




21
  Plaintiffs do not argue that Alianza has associational standing, see [ECF No. 98 at 29–33], and
Vertol concedes that “Plaintiffs may have standing to seek damages, individually, for their own
past claims,” but disputes that they can get prospective, class-based relief. [ECF No. 83 at 15].
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mission has been ‘frustrated’ by the challenged conduct and it has expended resources to combat

it.” Equal Means Equal v. Dep’t of Ed., 450 F. Supp. 3d 1, 7 (1st Cir. 2020) (emphasis in

original) (citing Havens Realty Corp. v. Coleman, 455 U.S. 363, 369 (1982)). That said, “simply

expending resources based on an anticipated harm is not enough to establish standing.” See id.

(citing Clapper v. Amnesty Int’l USA, 568 U.S. 398, 422 (2013) (emphasis removed)).

       In Havens, defendants “were alleged to have engaged in ‘racial steering,’” 455 U.S. at

367, which is a

       practice by which real estate brokers and agents preserve and encourage patterns of
       racial segregation in available housing by steering members of racial and ethnic
       groups to buildings occupied primarily by members of such racial and ethnic groups
       and away from buildings and neighborhoods inhabited primarily by members of
       other races or groups.

Id. at 367 n.1. The plaintiff was a non-profit organization “whose purpose was to make equal

opportunity in housing a reality,” and “[i]ts activities included the operation of a housing

counseling service, and the investigation and referral of complaints concerning housing

discrimination.” Id. at 368 (internal quotations omitted). There, the plaintiff alleged that it had

“been frustrated by defendants’ racial steering practices in its efforts to assist equal access to

housing through counseling and other referral services,” and also that it “had to devote

significant resources to identify and counteract the defendant’s [sic] racially discriminatory

steering practices.” Id. at 379. The Supreme Court held that the organization suffered a concrete

injury in fact because the defendant’s

       steering practices have perceptibly impaired [the plaintiff’s] ability to provide
       counseling and referral services for low-and moderate-income homeseekers, [and
       thus] there can be no question that the organization has suffered injury in fact. Such
       concrete and demonstrable injury to the organization’s activities—with the
       consequent drain on the organization’s resources—constitutes far more than simply
       a setback to the organization’s abstract social interests.

Id.

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       Similarly, in African Cmtys. Together v. Trump, an organization with the mission of

“protecting African immigrants,” No. 19-cv-10432, 2019 WL 5537231, at *4 n.5 (D. Mass. Oct.

25, 2019), brought suit against then-President Trump for announcing plans to terminate deferred

departure from the country for Liberians, id. at *1. There, a different session of this court found

that the organization could establish an injury-in-fact because

       [t]hey face (1) financial harm due to the diversion of their resources to advocacy
       efforts and (2) damage to their ability to serve their missions of protecting African
       immigrants, and in the First Circuit, “[i]t is a bedrock proposition that a relatively
       small economic loss – even an identifiable trifle – is enough to confer standing.”
       Massachusetts v. United States Dep’t of Health & Human Servs., 923 F.3d 209,
       222 (1st Cir. 2019) (internal quotation marks omitted); see also Long Term Care
       Pharmacy All. V. UnitedHealth Grp., Inc., 498 F. Supp. 2d 187, 192 (D.D.C. 2007)
       (“The pivotal inquiry is therefore not whether the organization has diverted
       resources from one priority to another, but whether its activities have been directly
       impeded by defendant’s activities, thus necessitating the diversion of resources.”).

Id. at *4 n.5; see also Fair Emp. Council of Greater Wash., Inc. v. BMC Mktg. Corp., 28 F.3d

1268, 1276 (D.C. Cir. 1994) (where plaintiff’s purpose was the “broad goal of promoting equal

opportunity,” finding plaintiff had sufficiently pleaded an injury-in-fact where, “[f]airly read,

the[] [allegations] indicate that [defendant]’s alleged pattern of discrimination . . . made the

[plaintiff]’s overall task more difficult” by “for instance, [potentially] increase[ing] the number

of people in need of counseling; similarly, to the extent that [defendant]’s actions have made it

harder for minorities to find jobs in greater Washington, they may have reduced the effectiveness

of any given level of outreach efforts,” and in this circumstance “[i]f discriminatory actions

taken by [defendant] have ‘perceptibly impaired’ the [plaintiffs]’s programs, ‘there can be no

question that the organization has suffered injury in fact.’” (quoting Havens, 455 U.S. at 379)).

       Here, Vertol argues that “Alianza ‘focuses its work on improving the quality of life for all

those in the United States-Mexico-Central America migration corridor and on promoting

humane, just, and equitable policies,’” and that “[t]he Amended Complaint does not say at all,
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much less in the necessary detail, how the alleged conduct of Defendants (much less the Vertol

Defendants) frustrated this purpose.” [ECF No. 83 at 16 (quoting Am. Compl. ¶ 16)]. In

response, Plaintiffs argue that Alianza is “a ‘non-profit corporation that provides resources and

assistance to recently arrived immigrants’—in multiple ways.” [ECF No. 98 at 30 (quoting Am.

Compl. ¶ 9)]. Plaintiffs further aver that, among other things, the

         Defendants’ scheme deceives immigrants into believing they are being aided by
         Good Samaritans and then sequesters them in remote locations, keeping newly
         arrived immigrants from receiving actual assistance from Alianza and other social
         service providers. See [Am. Compl. ¶¶ 1, 77–97]. Then, when the scheme unfolds
         and immigrants are abandoned, it creates an unforeseen and urgent demand for
         Alianza’s assistance, as occurred following the Martha’s Vineyard flights. Finally,
         because Defendants have vowed to continue perpetrating their scheme on
         unsuspecting immigrants, Alianza is forced to expend its resources on a series of
         counter-measures to ensure that other migrants are not duped. [Am. Compl. ¶¶ 17,
         173].

[Id.].

         The Court finds that Plaintiffs have sufficiently alleged, for purposes of a motion to

dismiss, that Alianza’s “mission has been ‘frustrated’ by [Defendant’s] conduct and [that] it has

expended resources to combat it.” Dep’t of Ed., 450 F. Supp. 3d at 7 (citing Havens, 455 U.S. at

369). Plaintiffs allege that Alianza is a non-profit corporation that “provides a breadth of

programming and resources to immigrant communities, immigrant-serving organizations, state

and local officials, and the public concerning issues of immigration [and] human rights.” [Am.

Compl. ¶ 16]. Because of Defendants’ actions, Plaintiffs allege, Alianza

         has been forced to divert programmatic and media resources from its usual
         activities to, among other actions, assist member organizations in responding to the
         needs of immigrants, who have been . . . transported to places where they lack
         access to housing and transportation; mobilize staff to educate member
         organizations and government officials about Defendants’ actions and threatened
         future actions; and create programming—including a list of talking points for
         immigrants and community members likely to interact with transported
         immigrants— to educate newly arrived immigrants that offers of assistance may in
         fact be attempts to recruit them to serve as pawns in political stunts.
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[Id. ¶ 17]. Moreover, Alianza has “redirected the time of its staff, including its executive

director, associate director for programs, media and communications director, and several key

support staff positions, away from programmatic and media resources toward assisting member

organizations, volunteers, asylum seekers, and immigrants who were flown to Martha’s

Vineyard.” [Id. ¶ 173].

       These actions make this case similar to Havens in that Alianza’s ability to provide its

regular programming and resources to immigrant communities and immigrant-serving

organizations has been impaired by the need to specifically address the Plaintiffs who were

flown to Martha’s Vineyard, and to divert resources to combatting Defendants’ actions. See

Havens, 455 U.S. at 379; [Am. Compl. ¶¶ 16–17, 173]. It is also similar to African Communities

because Defendants’ (including Vertol’s) actions, for example, have forced the organization to

“divert[] staff, educational resources, and financial resources away from its planned

programming and mission toward supporting its member organizations and the vulnerable

victims of Defendants’ scheme,” [Am. Compl. 172]; see African Cmtys., 2019 WL 5537231, at

*4 n.5, which is plausibly made harder by, for example, Defendant’s (1) false offers of

assistance, [Am. Compl. ¶ 17], (2) providing false brochures containing information about

programs that Plaintiffs were not eligible for, [id. ¶ 140], and (3) providing immigration forms

that would not have been sufficient to alert immigration authorities to Plaintiffs’ status, [id.

¶ 142]; see also Fair Emp. Council, 28 F.3d at 1276 (“[defendant]’s alleged pattern of

discrimination . . . made the [plaintiff]’s overall task more difficult” by “for instance,

[potentially] increas[ing] the number of people in need of counseling; similarly, to the extent that




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[defendant]’s actions have made it harder for minorities to find jobs in greater Washington, they

may have reduced the effectiveness of any given level of outreach efforts”). 22

       To be particularized, “the injury must affect the plaintiff in a personal and individual

way.” Lujan, 504 U.S. at 560 n.1. Here, the injury described above is specific to Alianza, and

thus this requirement is satisfied.

       With respect to whether the injuries to Alianza are actual or imminent, as an initial

matter, the existing injuries to Alianza discussed above are actual injuries. See supra. Moreover,

regarding imminence, “‘[a]llegations of possible future injury’ are not sufficient.” Clapper, 568

U.S. at 409 (quoting Whitmore v. Arkansas, 495 U.S. 149, 158, (1990)). That said, “[a]n

allegation of future injury may suffice if the threatened injury is ‘certainly impending,’ or [if]

there is a ‘“substantial risk” that the harm will occur.’” Reddy v. Foster, 845 F.3d 493, 500 (1st

Cir. 2017) (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158, (2014)).

       Here, Alianza alleges that it “fears and anticipates that it will need to continue to direct

resources toward the education and support of immigrants and local government officials as they

cope with similar deceptive transports and schemes,” [Am. Compl. ¶ 176], and that “[a]bsent

injunctive and declaratory relief, [it] will continue to” have to “forgo organizational priorities

and instead direct its personnel and money toward educating and supporting immigrants who fall

victim to Defendants’ ploys and assisting the communities that offer deceived immigrants food,

shelter, and assistance,” [id. ¶ 177]. Moreover, the Amended Complaint alleges that Vertol has



22
  Notably, Plaintiffs plausibly allege injuries that are more than just an “effect of [a challenged
action] on the organizations’ lobbying activities” or purely the impairment of its “issue-
advocacy.” Ferriero, 3 F.4th at 30 (quoting People for the Ethical Treatment of Animals v. U.S.
Dep’t of Agric., 797 F.3d 1087, 1093–94 (D.C. Cir. 2015)) (citations and internal quotation
marks omitted); see also Victim Rts. L. Ctr. v. Cardona, 552 F. Supp. 3d 104, 115, 119 (D. Mass.
2021) (assessing whether advocacy organizations were injured by a new federal rule).
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an additional $950,000 in funds that “have not been exhausted and suggest that Defendant Vertol

and Defendant [Florida] DOT maintain the ability to quickly implement another transport

scheme,” [id. ¶ 194], and multiple defendants, including Montgomerie, have suggested that

additional flights are likely, see [id. ¶ 50 (Vertol proposal “contemplat[ing] the ongoing delivery

of these Services to [the Florida] DOT, on an ongoing, month-to-month basis, in the form of

separate relocation.”); id. ¶ 191 (first, “after the initial two flights to Martha’s Vineyard were

full, Defendant Huerta had an assistant continue to hand out her business cards to immigrants in

the San Antonio area who might be future targets for the scheme. Second, Defendant [Florida]

DOT has already paid Defendant Vertol for additional flights of immigrants. Specifically,

Defendant [Florida] DOT arranged for Defendant Vertol to transport ‘approximately 100 or

more’ immigrants to Delaware and Illinois. ‘Project 2’ is described as involving Defendant

Vertol transporting up to fifty immigrants to Delaware. ‘Project 3’ is described as involving

Defendant Vertol transporting up to fifty immigrants to Illinois.”); id. ¶ 195 (DeSantis stating

“the immigration relocation program remains active”); id. ¶ 196 (DeSantis stating that he has

“$12 million for us to use and so we are going to use it and you’re gonna see more and more. . . .

I’m going to make sure that we exhaust all those funds.”)]. These allegations are sufficient for

purposes of a motion to dismiss to establish that “future injury . . . is ‘certainly impending’” or,

at the very least, that “there is a ‘“substantial risk” that the harm will occur.’” Reddy, 845 F.3d

at 500 (quoting Susan B. Anthony List, 573 U.S. at 158). Accordingly, the Court finds that

Alianza has established, for purposes of a motion to dismiss, that it has suffered an injury-in-fact.

                       2.      Traceability and Redressability

       “The causation and redressability elements require that the plaintiff show that the injury

is ‘fairly traceable to the defendant’s allegedly unlawful conduct and likely to be redressed by

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the requested relief.’” Ferriero, 3 F.4th at 28 (quoting California v. Texas, 593 U.S. 659, 669–70

(2021)).

        With respect to traceability (causation), Vertol makes the same argument as it does for a

lack of injury—namely that “diversion of resources alone does not suffice to establish standing.”

[ECF No. 83 at 17]. Plaintiffs, in response, aver that “there is a ‘causal connection’ between

Defendants’ scheme and Alianza’s injury that is not ‘th[e] result [of] the independent action of

some third party not before the court.’” [ECF No. 98 at 32 (quoting Sexual Minorities Uganda v.

Lively, 960 F. Supp. 2d 304, 325 (D. Mass. 2013)]. As explained, above, Alianza has

sufficiently alleged that it suffered injuries, see supra, and that these injuries would not have

happened but for Vertol’s decision to send its planes to Martha’s Vineyard. Thus, the Court

finds that Alianza’s alleged injuries are fairly traceable to Vertol’s conduct.

        Finally, regarding redressability, Vertol argues that the requested relief will not redress

any alleged harm because (1) “Florida’s decision to provide transportation for migrants who

wish to be transported elsewhere is neither unprecedented nor unique,” and (2) “even if Alianza

were to obtain injunctive relief to foreclose the State of Florida from proceeding with its own

transportation program, that would not stop Texas, Arizona, New York City, or any other state or

municipality.” [ECF No. 83 at 17]. The redressability element “requires that the plaintiff allege

‘that a favorable resolution of [its] claim would likely redress the professed injury.’” Dantzler,

Inc. v. Empresas Berríos Inventory & Operations, Inc., 958 F.3d 38, 47 (1st Cir. 2020) (quoting

Katz v. Pershing, LLC, 672 F.3d 64, 72 (1st Cir. 2012)). “This means that it cannot be merely

speculative that, if a court grants the requested relief, the injury will be redressed.” Id. (citing

Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26, 42–43 (1976)). Vertol’s argument ignores that,

among other things, the migrants here did not “wish to be transported” in the manner alleged,

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[ECF No. 83 at 17], and that an injunction against Vertol would, at the very least, prevent it from

using funds that it apparently already has, [Am. Compl. ¶ 194], to “induc[e] immigrants to travel

across state lines by fraud and misrepresentations,” [id. at 85 (Prayer for Relief)]. The Court

accordingly finds that Alianza’s alleged injury could be redressed by its requested relief, and that

it has thus sufficiently alleged, at the motion to dismiss stage, that it has standing to bring its

claims.

             D.      Whether Vertol is a State Actor

          “Section 1983 furnishes a private right of action against any person who, while acting

under color of state law, deprives another (or causes another to be deprived) of rights secured

either by the Constitution or by federal law.” Cruz-Arce v. Mgmt. Admin. Servs. Corp., 19 F.4th

538, 543 (1st Cir. 2021). “To make out a section 1983 claim, a plaintiff must allege facts

sufficient to show that the defendants acted under color of state law and caused the deprivation

of federal rights.” Id. “Section 1983’s ‘under color of state law’ requirement has long been

regarded as functionally equivalent to the ‘state action’ requirement of the Fourteenth

Amendment,” id. at 543 (citing United States v. Price, 383 U.S. 787, 794 n.7 (1966)), and, as

such, “[i]f the challenged conduct cannot be classified as state action, a section 1983 claim

necessarily fails,” id.

          “[W]hen the conduct of a private party” like Vertol “can be ‘fairly attributable to the

State,’ that conduct may constitute state action and, as such, engage the gears of section 1983.”

Cruz-Arce, 19 F.4th at 543 (citing Lugar v. Edmondson Oil Co., 457 U.S. 922, 936–39 (1982)).

“Determining whether a private party’s conduct amounts to state action demands a fact-intensive

and context-specific inquiry.” Id. at 544.




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       “[C]ourts have resisted attempts to define with granular precision the universe of

circumstances in which a private party may be considered to be acting under color of state law,”

Cruz-Arce, 19 F.4th at 544, but have nevertheless identified “three general ways in which a

private party may become a state actor within the purview of section 1983,” id.

       First, a private party may be considered a state actor if it assumes a public function
       which, by tradition, is exclusively reserved to the state (the public function test).
       Second, a private party may be considered a state actor if its conduct is coerced or
       significantly encouraged by the state (the state compulsion test). Third, a private
       party may be considered a state actor if it and the state have entered into so
       symbiotic a relationship that they have become joint participants in the challenged
       conduct (the nexus/joint action test).

Id. (internal citations omitted). That said, the “[p]laintiff need not specifically allege which of

these three tests applies,” nor must it

       intone some catechism of magic words to describe the relationship between the
       private party and the state. In the last analysis, the allegations in the complaint,
       supplemented with reasonable inferences therefrom and matters susceptible to
       judicial notice, must comprise a factual predicate sufficient to render it plausible
       that one of these tests can be satisfied.

Id.

       Here, Plaintiffs argue that Vertol’s conduct met the requirements of the state compulsion

test and the nexus/joint action test. [ECF No. 98 at 34]. Because the Court finds that Plaintiffs

have satisfied the state compulsion test, it does not address the nexus/joint action test. 23




23
   Even though it need not consider the nexus/joint action test, the Court would be unlikely to
find that Vertol was a state actor under that test on this record. To “pass” the nexus/joint action
test, “a plaintiff must show that the private party’s actions are attributable to the state through a
symbiotic relationship between the two.” Santiago v. Puerto Rico, 655 F.3d 61, 71 (1st Cir.
2011). The inquiry focuses not on the specific alleged conduct, but “instead on the nature of the
overall relationship between the State and the private entity.” Perkins, 196 F.3d at 21. Although
the test considers the totality of the circumstances, “the case law suggests some factors to which
courts typically attach special weight,” and “[t]he most salient of these,” which is the only factor
relevant here, “is the extent to which the private entity is (or is not) independent in the conduct of

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       “[T]o establish state action under” the state compulsion test, “a plaintiff must

demonstrate a particularly close tie between the state and the private party’s conduct, such that

the conduct may fairly be regarded as state action.” Santiago, 655 F.3d at 71. “This inquiry is a

targeted one, with the challenged conduct at the hub of the analytical wheel.” Id. “Even the

rights-depriving conduct of an extensively regulated private party does not amount to action

under color of state law unless the conduct itself is compelled (or, at least, heavily influenced) by

a state regulation.” Id. Put another way, a plaintiff must show that “the State ‘has exercised

coercive power or has provided such significant encouragement, either overt or covert,’ that the

challenged conduct fairly can be attributed to the State.” Perkins v. Londonderry Basketball

Club, 196 F.3d 13, 19 (1st Cir. 1999) (quoting Blum v. Yaretsky, 457 U.S. 991, 1004 (1982)).

The test “requires more than the taking of action against a backdrop of applicable state

regulations,” Santiago, 655 F.3d at 71, and “act[ing] in accordance with the procedures outlined

in [a] state statutory scheme” is alone insufficient, Estades-Negroni v. CPC Hosp. San Juan

Capestrano, 412 F.3d 1, 5 (1st Cir. 2005).

       Here, Vertol argues that the state compulsion test is not satisfied because “[t]he Amended

Complaint does not allege that the State of Florida compelled the Vertol Defendants to do

anything.” [ECF No. 83 at 19]. Rather, “[the Florida] DOT solicited bids, Vertol voluntarily

submitted one, and Vertol was selected on a competitive basis to provide the services covered by

the bid as it saw fit.” [Id. at 20]. In response, Plaintiffs argue that the Amended Complaint

“more than sufficiently alleges significant encouragement by the State” because it




its day-to-day affairs.” Id. Although the Amended Complaint alleges Florida’s involvement in
the scheme at issue here, it does not establish that Vertol is not independent from the state with
respect to its day-to-day affairs.
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       is replete with real-time documentary evidence showing how for over a month,
       Florida Defendants regularly communicated with the Vertol Defendants about
       submitting and securing the contract to execute the Martha’s Vineyard flights, [Am.
       Compl. ¶¶ 46–47], and then were in constant communication with Defendant
       Huerta to coordinate efforts in recruiting unsuspecting immigrants around the
       Migrant Resource Center in San Antonio, [id. ¶¶ 62–70]. Defendants kept each
       other apprised of any updates and held planning calls together to continue
       colluding. [Id. ¶ 68]. Up until the flights took off, Montgomerie provided updates
       about the status of the recruitment efforts to Florida Defendants. [Id. ¶¶ 109–111.]
       Even upon the completion of the initial set of flights, Defendants Huerta and
       Montgomerie had every intention of continuing their illegal conduct. Huerta had
       her assistant continue sharing her business card to immigrants in the San Antonio
       area, and Montgomerie communicated with Keefe about having another flight
       ready to send to Delaware. [Id. ¶¶ 191–192]. Huerta celebrated their efforts in a
       text message to Keefe: “Victory Arms For you!!! Thank you for this opportunity
       and support.” [Id. ¶ 187].

[ECF No. 98 at 35].

       The Court finds that the Amended Complaint sufficiently alleges that Florida, its

agencies, and officials provided overt and significant encouragement for Vertol’s actions such

that Vertol’s conduct in flying the Plaintiffs into Massachusetts can fairly be attributed the state.

See Perkins, 196 F.3d at 19. For example, the Amended Complaint alleges that the Florida DOT

appropriated $12 million of government funds for the Relocation Program, [Am. Compl. ¶ 39];

requested quotes for services to “relocate . . . foreign nationals who are not lawfully present in

the United States,” [id. ¶ 41]; Vertol submitted a bid and Keefe, Florida’s “public safety czar, . . .

was in regular correspondence with Defendant Montgomerie to make sure that the contract went

through,” [id. ¶¶ 45–46]; Keefe “shepherd[ed] Defendant Vertol through the bidding process,

texting Defendant Montgomerie to confirm that Defendant Vertol was ‘register[ed] with the state

as discussed with [the Florida] DOT,’” [id. ¶ 47]; Vertol stated that “it could meet the

requirements of [the Florida] DOT’s ‘request for the services of an air transportation company to

provide chartered flight services to out-of-state locations designated by [the Florida] DOT,’” [id.

¶ 48]; said that “the frequency of flights would be ‘[a]s needed and requested by [the Florida]
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DOT or its authorized representative,’” [id. ¶ 49]; proposed that “‘Project 1,’ was to involve ‘the

facilitation of the relocation of individuals to the State of Massachusetts or other, proximate

northeastern state designated by [the Florida] DOT based upon the extant conditions,’” [id. ¶ 50];

submitted the proposal to fly Plaintiffs to Massachusetts for a price “subject to [Florida] DOT

approval,” [id. ¶ 53]; Perdue, the Secretary of the Florida DOT, approved the government funds

sent to Vertol for the Flights, [id. ¶¶ 19, 56]; Keefe assisted Huerta in the recruitment of

Plaintiffs and stayed apprised of her and Montgomerie’s efforts, including by congratulating

Montgomerie for finding Plaintiffs, [id. ¶¶ 61, 66, 68, 109]; Keefe helped arrange the Flights

with the “full support” of Uthmeier, DeSantis’ Chief of Staff, and communicated with and kept

Uthmeier up to date on Vertol’s efforts, [id. ¶¶ 21, 101–105, 108, 111–112]; Keefe was on the

Flights for a portion of the trip, [id. ¶¶ 128, 131]; DeSantis “claimed credit for flying [] Plaintiffs

to Martha’s Vineyard,” [id. ¶ 178]; Uthmeier confirmed that the Flights were the work of

DeSantis by tweeting “@GovRonDeSantis helps them get to wealthy communities that support

open border policies and now it’s a hate crime?,” [id. ¶ 186]; and finally, after the Flights,

DeSantis’ comments confirmed that the relocation efforts, including those done by Vertol here,

were done with his encouragement:

       “We have a whole infrastructure in place now. There’s going to be a lot more that’s
       happening. It’s not just flights.” Elsewhere he has confirmed, “I have $12 million
       for us to use and so we are going to use it and you’re gonna see more and more.”
       He continued, “I’m going to make sure that we exhaust all those funds.”

[id. ¶ 196 (internal footnotes omitted)]. Overall, the Amended Complaint therefore plausibly

alleges that the state provided overt and significant encouragement for Vertol’s actions such that

Vertol can be considered a state actor under the state compulsion test. See Perkins, 196 F.3d at

19; see also Cruz-Arce, 19 F.4th at 544 (need only “plausibl[y allege] that one of these tests can

be satisfied”); Sanchez v. Pereira-Castillo, 590 F.3d 31, 51–52 (1st Cir. 2009) (finding state
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compulsion test satisfied where a private doctor performed exploratory surgery to find

contraband on a prisoner after “insistence and pressure exerted by” a prison guard); Contra

Santiago, 655 F.3d at 74–75 (state compulsion test not satisfied where bus company failed to

screen an alleged molester “[b]ecause there [wa]s no showing that the [state] exercised coercive

power over or significantly encouraged either the abuse . . . or the bus company’s failure

properly to screen and train its employees.”).

           E.      Qualified Immunity

       Vertol next argues that if it is deemed a state actor, it would have qualified immunity

from Plaintiff’s claims because “[p]rivate parties under contract to perform government

functions are entitled to such qualified immunity,” and Vertol’s conduct did not “violate[] any

clearly established statutory or constitutional right, much less that any reasonable person would

have known that the conduct at issue violated such right.” [ECF No. 83 at 21]. 24 In response,

Plaintiffs aver that (1) Vertol did violate clearly established law, (2) qualified immunity does not

apply to requests for equitable relief, (3) a qualified immunity defense generally fails to defeat a

motion to dismiss, and (4) just because a case involves a unique fact pattern does not mean that a

defendant is necessarily entitled to qualified immunity. [ECF No. 98 at 50–52].

       The Court agrees that qualified immunity is not available in cases, such as this one,

“where injunctive relief is sought instead of or in addition to damages.” Pearson v. Callahan,

555 U.S. 223, 242 (2009). This alone is sufficient to deny Vertol’s request to dismiss the § 1983




24
  Vertol argues that Plaintiffs do not respond to this argument. [ECF No. 107 at 10]. Plaintiffs
do respond to Defendants’ general qualified immunity arguments, though, and specifically
reference “government contractors” like Vertol in that argument. [ECF No. 98 at 51].
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claims on qualified immunity grounds, 25 and to the extent that this case advances to the summary

judgment stage or trial, the Court can assess qualified immunity with respect to damages at that

time on a more complete record. See Chamberlain ex rel. Chamberlain v. City of White Plains,

960 F.3d 100, 110 (2d Cir. 2020) (“as a general rule, ‘the defense of qualified immunity cannot

support the grant of a [Rule] 12(b)(6) motion’” (quoting Green v. Maraio, 722 F.2d 1013, 1018

(2d Cir. 1983)); see also Kelley v. LaForce, 288 F.3d 1, 6–7 (1st Cir. 2002) (to determine

whether conduct was “objectively reasonable” for qualified immunity purposes “‘often require[s]

examination of information possessed’ by the defendant” (quoting Anderson v. Creighton, 483

U.S. 635, 639 (1987)).

           F.      Failure to State a Claim

       On a motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6), the Court

must accept as true all well-pleaded facts, analyze them in the light most favorable to the

plaintiffs, and draw all reasonable inferences from those facts in favor of the plaintiffs. United

States ex rel. Hutcheson v. Blackstone Med., Inc., 647 F.3d 377, 383 (1st Cir. 2011).

Additionally, “a court may not look beyond the facts alleged in the complaint, documents



25
   Vertol’s cited case, Frazier v. Bailey, does not stand for the proposition that qualified
immunity is available to any and all private actors that have been deemed a state actor for
purpose of suit. See 957 F.2d 920, 928 (1st Cir. 1992) (holding after a summary judgment ruling
that individuals under government contract that are “compelled by the government” to
“perform[] duties that would otherwise have to be performed by a public official who would
clearly have qualified immunity” are entitled to qualified immunity themselves, but noting that
the First Circuit has also found that “private individuals who voluntarily utilized the state for
their own selfish purposes were not entitled to qualified immunity” (citing Felix de Santana v.
Eligio Velez, 956 F.2d 16, 19–20 (1st Cir. 1992)). In Felix de Santana, for example, which was
a malicious prosecution case, the First Circuit declined to extend qualified immunity to a private
actor that “voluntarily engaged in illegal activities in the advancement of their own self-
interests.” 956 F.2d at 20. Though the Court need not decide the issue now, it notes that on the
limited motion to dismiss record, Vertol’s self-interest in engaging in the alleged scheme, if any,
is not sufficiently clear to determine whether it is entitled to qualified immunity or not.
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incorporated by reference therein and facts susceptible to judicial notice.” MIT Fed. Credit

Union v. Cordisco, 470 F. Supp. 3d 81, 84 (D. Mass. 2020) (citing Haley v. City of Bos., 657

F.3d 39, 46 (1st Cir. 2011)). A complaint “must provide ‘a short and plain statement of the claim

showing that the pleader is entitled to relief[,]’” Cardigan Mt. Sch. v. N.H. Ins. Co., 787 F.3d 82,

84 (1st Cir. 2015) (quoting Fed. R. Civ. P. 8(a)(2)), and set forth “factual allegations, either

direct or inferential, respecting each material element necessary to sustain recovery under some

actionable legal theory,” Pitta v. Medeiros, 90 F.4th 11, 17 (1st Cir. 2024) (quoting Gagliardi v.

Sullivan, 513 F.3d 301, 305 (1st Cir. 2008)). Although detailed factual allegations are not

required, a complaint must set forth “more than labels and conclusions,” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007), and “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice[,]” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). Rather, a complaint “must contain sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 570).

                       1.      Federal Claims

                               i.      Substantive Due Process (Count I)

       Count I alleges that Defendants violated Plaintiffs’ substantive due process rights. [Am.

Compl. ¶¶ 211–223]. The Fourteenth Amendment’s Due Process Clause provides that no state

shall “deprive any person of life, liberty, or property, without due process of law.” U.S. Const.,

amend. XIV. The Clause “contains a substantive component that bars certain arbitrary, wrongful

government actions ‘regardless of the fairness of the procedures used to implement them.’”

Foucha v. Louisiana, 504 U.S. 71, 80 (1992) (quoting Zinermon v. Burch, 494 U.S. 113, 125

(1990)). Like the Fifth Amendment’s Due Process Clause, [i]t “applies to all ‘persons’ within

the United States, including aliens, whether their presence here is lawful, unlawful, temporary, or

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permanent.” Zadvydas v. Davis, 533 U.S. 678, 693 (2001). 26 “In order to assert a valid

substantive due process claim, [Plaintiffs] have to prove that they suffered the deprivation of an

established life, liberty, or property interest, and that such deprivation occurred through

governmental action that shocks the conscience.” Clark v. Boscher, 514 F.3d 107, 112–13 (1st

Cir. 2008).

       As to the deprivation of an established interest, as relevant here, “[f]reedom from bodily

restraint has always been at the core of the liberty protected by the Due Process Clause from

arbitrary governmental action.” Foucha, 504 U.S. at 80; cf. Zadvydas, 533 U.S. at 690 (“The

Fifth Amendment’s Due Process Clause forbids the Government to ‘depriv[e]’ any ‘person . . . of

. . . liberty . . . without due process of law.’ Freedom from imprisonment—from government

custody, detention, or other forms of physical restraint—lies at the heart of the liberty that Clause

protects.” (citing Foucha, 504 U.S. at 80)). The Supreme “Court has said that government

detention violates that Clause unless the detention is ordered in a criminal proceeding with

adequate procedural protections, or, in certain special and ‘narrow’ nonpunitive ‘circumstances,’

where a special justification, such as harm-threatening mental illness, outweighs the ‘individual’s

constitutionally protected interest in avoiding physical restraint.’” Zadvydas, 533 U.S. at 690




26
   That Zaddydas is a Fifth Amendment case does not make it inapplicable here. See Cook v.
Rumsfeld, 429 F. Supp. 2d 385, 391 n.7 (D. Mass. 2006), aff’d sub nom. Cook v. Gates, 528
F.3d 42 (1st Cir. 2008) (“The language of the Clause is identical in both the Fifth and Fourteenth
Amendments . . . , and there is no reason to think that the Court’s explication of the concept of
‘substantive due process’ under the Clause in cases arising under the Fourteenth Amendment
would not apply fully to cases arising under the Fifth [and vice versa].” (citing Reno v. Flores,
507 U.S. 292, 301–02 (1993) (“Respondents’ ‘substantive due process’ claim relies upon our line
of cases which interprets the Fifth and Fourteenth Amendments’ guarantee of ‘due process of
law’ to include a substantive component, which forbids the government to infringe certain
‘fundamental’ liberty interests at all, no matter what process is provided, unless the infringement
is narrowly tailored to serve a compelling state interest.”))).
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(first citing United States v. Salerno, 481 U.S. 739, 746 (1987); then quoting Foucha, 504 U.S. at

80; and then quoting Kansas v. Hendricks, 521 U.S. 346, 356 (1997)). Here, Plaintiffs have

sufficiently alleged that they were restrained against their will, see, e.g., [Am. Compl. ¶ 146 (“By

the time [] Plaintiffs learned that they were being taken to Martha’s Vineyard, they had no ability

to refuse transportation to the island. [] Plaintiffs were trapped midair on planes that they had

boarded under false pretenses. Simply put, there was no way for them to escape.”); id. ¶¶ 219–

220 (similar)], and thus the Court finds that they have established a deprivation of a protected

liberty interest, see Foucha, 504 U.S. at 80. 27

        Turning to whether Vertol’s actions “shocked the conscience,” the “action must be ‘so

egregious, so outrageous, that it may fairly be said to shock the contemporary conscience.’”

Rivera v. Rhode Island, 402 F.3d 27, 36 (1st Cir. 2005) (quoting Cnty. of Sacramento v. Lewis,

523 U.S. 833, 847 n.8 (1998)). Courts have “rejected the lowest common denominator of

customary tort liability as any mark of sufficiently shocking conduct.” Cnty. of Sacramento, 523



27
   Vertol argues that because Plaintiffs have brought claims under the Equal Protection Clause
and the Fourth Amendment, the “claims must therefore be vetted under the ‘particular
constitutional rubric’ associated with those provisions and not under substantive due process
jurisprudence.” [ECF No. 83 at 23 (citing S. Cnty. Sand & Gravel Co. v. Town of S. Kingstown,
160 F.3d 834, 835 (1st Cir. 1998))]. In response, Plaintiffs argue that claims for multiple
constitutional violations can be brought in the same case. [ECF No. 98 at 39 n.14 (first citing
United States v. James Daniel Good Real Prop., 510 U.S. 43, 49 (1993) (“We have rejected the
view that the applicability of one constitutional amendment pre-empts the guarantees of
another.”); and then citing Soldal v. Cook Cnty., 506 U.S. 56, 70 (1992) (“Certain wrongs affect
more than a single right and, accordingly, can implicate more than one of the Constitution's
commands.”))]. Unlike Sand & Gravel, this is not a case of “a garden-variety regulatory . . .
Takings Clause” claim. See 160 F.3d at 835. Rather, the separate text of the Fourth and
Fourteenth Amendments is implicated here, and thus “[t]he proper question is not which
Amendment controls but whether either Amendment is violated.” James Daniel Good, 510 U.S.
at 50–51; see also id. (distinguishing the circumstance where the Fourth Amendment is asserted
in the criminal, arrest, or investigatory stop context from the context at issue in James Daniel
Good, which involved the seizure of property, and which the Court found implicated both the
Fourth and Fifth Amendments).
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U.S. at 848–49. Rather, the conduct must, for example, be “intended to injure in some way

unjustifiable by any government interest.” Rivera, 402 F.3d at 36 (quoting Cnty. of Sacramento,

523 U.S. at 849). “[W]hether behavior is conscience shocking varies with regard to the

circumstances of the case,” [id.], though it must be “at the very least [] ‘extreme and egregious,’”

Pagan v. Calderon, 448 F.3d 16, 32 (1st Cir. 2006) (quoting DePoutot v. Raffaelly, 424 F.3d 112,

118 (1st Cir. 2005)), “truly outrageous, uncivilized, and intolerable,” id. (quoting Hasenfus v.

LaJeunesse, 175 F.3d 68, 72 (1st Cir. 1999)), or “stunning,” id. (quoting Amsden v. Moran, 904

F.2d 748, 754 n. 5 (1st Cir. 1990)).

       Here, Vertol argues that any suggestion that their actions shocked the conscious is

undermined by the allegations that they took “measures to alleviate any resultant harm” from

their actions, including because they took Plaintiffs from the street to shelter, provided them with

food and other necessities, and arranged for vans to transport them to a local community center

in Martha’s Vineyard. [ECF No. 83 at 24 (quoting Aguilar v. ICE, 510 F.3d 1, 22 (1st Cir.

2007))]. In response, Plaintiffs argue that it shocks the conscious to engage in the “concerted

campaign of deception against [] Plaintiffs, not in the service of any legitimate governmental

objective, but rather to use [] Plaintiffs as unwitting props in a political game.” [ECF No. 98 at

39].

       In Aguilar, petitioners, undocumented immigrants who were detained and separated from

their minor children who were left without supervision, 510 F.3d at 5–6, alleged “that their

immediate detention, the subsequent string of transfers (many of them to distant climes), and

ICE’s inadequate efforts either to notify or to work with social service agencies disrupted family

units,” violated their substantive due process rights, id. at 19. There, the First Circuit found that

       any claim of an intentional deprivation is belied by the petitioners’ concession that
       ICE took at least some measures to alleviate any resultant harm. Moreover, the
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       petitioners do not make any showing that the amount of time during which they
       were denied the ability to make arrangements for their children was
       disproportionate to what was reasonably necessary to process the large number of
       aliens detained during the factory raid. While ICE’s actions during and after the
       raid seem callous in certain respects, the facts alleged suggest no more than
       negligence or misordered priorities. . . . [T]he evenhanded enforcement of the
       immigration laws, in and of itself, cannot conceivably be held to violate substantive
       due process. Any interference with the right to family integrity alleged here was
       incidental to the government’s legitimate interest in effectuating detentions pending
       the removal of persons illegally in the country. . . . So long as the detention is
       lawful, that so-called deprivation of the right to family integrity does not violate the
       Constitution.

Id. at 22 (internal citations omitted). Aguilar is inapposite. Unlike Aguilar, Vertol and the other

Defendants here were not legitimately enforcing any immigration laws. See id. Instead, as

alleged, they “exploit[ed] [Plaintiffs] in a scheme to boost the national profile of Defendant

DeSantis and manipulate them for political ends.” [Am. Compl. ¶ 214]. Moreover, Plaintiffs’

images were captured and sent to national news media. [Id. ¶¶ 148–149]. Unlike ICE agents

legitimately enforcing the country’s immigration laws, see Aguilar, 510 F.3d at 22, the Court

sees no legitimate purpose for rounding up highly vulnerable individuals on false pretenses and

publicly injecting them into a divisive national debate, see, e.g., [Am. Compl. ¶¶ 148–149, 178–

179, 182–186, 214]. Treating vulnerable individuals like Plaintiffs in this way, as alleged and

accepted as true for purposes of the motion to dismiss, Hutcheson, 647 F.3d at 383, is nothing

short of extreme, outrageous, uncivilized, intolerable, and stunning. See Pagan, 448 F.3d at 32.

Accordingly, the Court denies Vertol’s motion to dismiss Count I.

                              ii.     Procedural Due Process (Count V)

       Count V alleges that Defendants violated Plaintiffs’ procedural due process rights by

interfering with their “ability to participate in their federal immigration proceedings.” [Am.

Compl. ¶¶ 253–260]. The Amended Complaint is not clear as to (1) what exactly those

proceedings were, (2) what would be at stake in those proceedings, and (3) whether Plaintiffs
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were actually prevented from ultimately participating in those proceedings. See [id.]; see also

[id. ¶¶ 13–15 (stating that each individual Plaintiff was “subject to ongoing immigration

proceedings” and had scheduled hearings in October 2022 and/or February 2023)]. Although

Plaintiffs certainly have procedural due process rights, see Landon v. Plasencia, 459 U.S. 21, 32

(1982) (“[O]nce an alien gains admission to our country and begins to develop the ties that go

with permanent residence his constitutional status changes accordingly.”), without details

regarding the nature of the proceedings and whether Plaintiffs could ultimately attend them, the

Court is unable to discern whether, for example, those proceedings implicated “a cognizable

liberty or property interest,” which is required for a procedural due process claim, see DaCosta v.

Gonzales, 449 F.3d 45, 50 (1st Cir. 2006). Accordingly, Count V is dismissed without prejudice.

                               iii.   Unlawful Seizure (Count VI)

        Count VI alleges that Defendants unlawfully seized Plaintiffs in violation of the Fourth

Amendment by deceiving them into boarding the Flights and, thereafter, “terminat[ing] their . . .

protected freedom of movement.” [Am. Compl. ¶¶ 261–268].

       The purpose of the Fourth Amendment “is to safeguard the privacy and security of

individuals against arbitrary invasions by governmental officials.” New Jersey v. T.L.O, 469

U.S. 325, 335 (1985) (quoting Camara v. Mun. Ct. of City & Cnty. of S.F., 387 U.S. 523, 528

(1967)). “[T]he specific content and incidents of this right must be shaped by the context in

which it is asserted. For ‘what the Constitution forbids is not all searches and seizures, but

unreasonable searches and seizures.’” Terry v. Ohio, 392 U.S. 1, 9 (1968) (quoting Elkins v.

United States, 364 U.S. 206, 222 (1960)).

       “A person has been ‘seized’ within the meaning of the Fourth Amendment only if, in

view of all of the circumstances surrounding the incident, a reasonable person would have

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believed that he was not free to leave.” United States v. Mendenhall, 466 U.S. 544, 554 (1980).

As one example, in Brower v. Cnty. of Inyo, the Supreme Court held that Plaintiff had

sufficiently pleaded an unlawful seizure where the government “under color of law, sought to

stop [plaintiff] by means of a roadblock and succeeded in doing so.” 489 U.S. 593, 599 (1989).

       Vertol initially argues that Plaintiffs cannot state a claim for unlawful seizure because

nobody used physical force to get Plaintiffs onto the Flights. [ECF No. 83 at 27]. The Supreme

Court has held, however, that “[t]he Fourth Amendment can certainly be violated by guileful as

well as by forcible intrusions into a constitutionally protected area.” Hoffa v. United States, 385

U.S. 293, 301 (1966); 28 cf. Pagán-González v. Moreno, 919 F.3d 582, 592 (1st Cir. 2019)

(“government agents’ deceptive tactics must not prevent a target from making ‘an essentially

free and unconstrained choice’ to forgo the constitutional protection of a warrant” (quoting

Schneckloth v. Bustamonte, 412 U.S. 218, 225 (1973)); id. at 593–94 (“The question instead is

whether the deception in context rendered the consent involuntary.”).

       Vertol next argues that the Amended Complaint does not allege anything amounting to a

“show of authority.” [ECF No. 83 at 27]. While it is true that either physical force or a show of

authority may be required in the case of a seizure by, for example, a police officer or a



28
   Defendants argue that Hoffa, a case that involved a plaintiff inviting a secret informant into his
hotel room, 385 U.S. at 301, supports its position in that, for example, it held that “[w]hat the
Fourth Amendment protects is the security a man relies upon when he places himself or his
property within a constitutionally protected area, be it his home or his office, his hotel room or
his automobile.” 385 U.S. at 301. But the Hoffa Court explicitly said that it was not “deal[ing]
here with the law of arrest under the Fourth Amendment,” id. at 301 n.5, which is more
analogous to the seizure of Plaintiffs here. Moreover, the Court stated that it was not addressing
“[t]he applicability of the Fourth Amendment if [the informant] had been a stranger to the
[plaintiff],” id. at 302 n.6, which is more analogous to the Defendants here. In contrast to Hoffa,
Plaintiffs did not invite Defendants into their lives at all, and not only were Defendants strangers
to Plaintiffs, they consciously hid their identities and purposes. See, e.g., [Am. Compl. ¶¶ 263–
267].
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prosecutor, see I.N.S. v. Delgado, 466 U.S. 210, 215 (1984); Britton v. Maloney, 196 F.3d 24, 30

(1st Cir. 1999), the Supreme Court has explicitly held that “the specific content and incidents of

this right must be shaped by the context in which it is asserted,” Terry, 392 U.S. at 9. Moreover,

it has “never limited the Amendment’s prohibition on unreasonable searches and seizures to

operations conducted by the police. Rather, the Court has long spoken of the Fourth

Amendment’s strictures as restraints imposed upon ‘governmental action’—that is, ‘upon the

activities of sovereign authority.’” New Jersey, 469 at 335 (quoting Burdeau v. McDowell, 256

U.S. 465, 475 (1921)). Finally, the Supreme Court and the First Circuit have clearly held the

guileful or deceptive tactics may be enough to result in an unlawful seizure. See Hoffa, 385 U.S.

at 301; Pagán-González, 919 F.3d at 592.

        Here, Plaintiffs plausibly allege that had they known the nature of the Defendants and

their scheme, they “would not have boarded the flight to Massachusetts.” [Am. Compl. ¶¶ 159,

162, 168]. In short, Vertol’s tactics, see, e.g., [Am. Compl. ¶¶ 53, 57, 61–62, 104, 109],

prevented them from making “an essentially free and unconstrained choice” with respect to the

Flights, with the result that Vertol effectively held them on the Flights against their will, see

Pagán-González, 919 F.3d at 592 (quoting Schneckloth, 412 U.S. at 219); see also [Am. Compl.

¶ 265 (“[b]y the time that [] Plaintiffs learned the true destination of the plane, [] Plaintiffs could

not leave the plane or decline transportation”)]. 29 Moreover, once on the Flights, the allegation

that they “could not leave the plane or decline transportation,” [Am. Compl ¶ 265], supports a




29
  Vertol attempts to distinguish Pagán-González and Davis v. Dawson, 545 F. Supp. 3d 682
(S.D. Iowa 2021), on the grounds that, “[i]n each of those cases, the party alleging a violation
was literally seized by law enforcement and not free to leave.” [ECF No. 107 at 13 n. 5]. Here,
though, Plaintiffs allege that they were literally seized by government actors on the Flights and
were not free to leave. See [Am. Compl. ¶¶ 264–268].
                                                   61
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finding that they did not reasonably believe that they were “free to leave,” Mendenhall, 466 U.S.

at 554. Thus, the Court finds that, for purposes of a motion to dismiss, Plaintiffs have

sufficiently pleaded a claim for unlawful seizure under the Fourth Amendment. Accordingly,

Vertol’s motion to dismiss Count VI is denied.

                              iv.     Civil Rights Conspiracy (Count VII)

        Count VII alleges a civil rights conspiracy under 42 U.S.C. § 1985(3). [Am. Compl.

¶¶ 269–278].

       To state a claim under § 1985(3) a plaintiff must allege the existence of (1) a
       conspiracy, (2) a conspiratorial purpose to deprive a person or class of persons,
       directly or indirectly, of the equal protection of the laws or of equal privileges and
       immunities under the laws, (3) an overt act in furtherance of the conspiracy, and (4)
       either (a) an injury to person or property, or (b) a deprivation of a constitutionally
       protected right or privilege.

Aulson v. Blanchard, 83 F.3d 1, 3 (1st Cir. 1996). Moreover, as to the equal protection/

privileges prong of the analysis,

       the language requiring intent to deprive of equal protection, or equal privileges and
       immunities, means that there must be some racial, or perhaps otherwise class-based,
       invidiously discriminatory animus behind the conspirators’ action. The conspiracy,
       in other words, must aim at a deprivation of the equal enjoyment of rights secured
       by the law to all.

Griffin v. Breckenridge, 403 U.S. 88, 102 (1971); see also Humphrey v. Comoletti, No. 15-cv-

14170, 2017 WL 1224539, at *7 (D. Mass. Mar. 31, 2017) (“With respect to the ‘equal

protection’ element, a plaintiff must ‘allege the existence of a conspiracy intended to deprive an

individual or class of persons of protected rights based on some racial, or perhaps otherwise




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class-based, invidiously discriminatory animus.’” (quoting Burns v. State Police Ass’n of Mass.,

230 F.3d 8, 12 (1st Cir. 2000) (internal quotations omitted))). 30

          Here, Vertol argues that Plaintiffs fail to allege (1) a “plausible violation of the Equal

Protection Clause (or any other specific Constitutional provision)”; 31 and (2) that Vertol “acted

with discriminatory intent,” instead only alleging a disparate impact due to national origin. [ECF

No. 83 at 28]. 32 In response, and as relevant to Vertol’s argument, Plaintiffs argue that

“Defendants targeted [] Plaintiffs (out of 11 million possible targets) precisely because they are

Latinx and thus made for better props in Defendants’ photo op,” [ECF No. 98 at 47], and that it

is inappropriate to grant a motion to dismiss here given the fact sensitive nature of determining

whether there is a valid claim of a civil rights conspiracy, [id. at 48].

          The Amended Complaint alleges that “[a]cting on behalf of Defendants, Defendant

Huerta and her associates exclusively targeted Latinx immigrants from South American




30
  The First Circuit in Burns distinguished between the requirements of a claim under the Equal
Protection Clause and a claim under §1985(3) as follows:

          In Village of Willowbrook v. Olech, 528 U.S. 1073, . . . (2000) (per curiam), the
          Supreme Court observed that an equal protection claim could be stated where a
          plaintiff alleges that “she has been intentionally treated differently from others
          similarly situated and that there is no rational basis for the difference in treatment”
          creating a “class of one” cause of action, without regard to subjective motivation.
          The case before us, however, involves a statutory claim that extends to private
          conspirators, not a constitutional equal protection claim, and we therefore adhere
          to caselaw construing § 1985’s references to equal protection to require racial
          motivation or other invidiously discriminatory animus against a class.

Burns, 230 F.3d at 12 n.4.
31
     Plaintiffs have stated a claim for constitutional violations. See supra.
32
  Defendants apparently concede that the Amended Complaint sufficiently alleges a conspiracy
and an overt act in furtherance of the conspiracy, as well as an injury to person or property.
Thus, the Court does not address these factors.
                                                63
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countries,” and “[w]hile substantial numbers of non-Latinx immigrants, including from

European, Asian, or African nations, are in the United States, on information and belief,

Defendants did not approach any of them.” [Am. Compl. ¶ 73]. Moreover, “all of the

immigrants who were transported . . . were Latinx immigrants from Venezuela or Peru.” [Id.

¶ 75]. Finally, it alleges that Defendants had specifically “turned their attention . . . to

immigrants who had crossed the southern border into Texas.” [Id. ¶ 59]. These facts, taken

together, support an inference that Vertol and the other Defendants specifically targeted

Plaintiffs because they were Latinx immigrants. The Court finds that, for purposes of a motion

to dismiss, the allegations that Latinx individuals were (1) specifically targeted, (2) the only ones

approached, and (3) the only ones on the Flights, see [Am. Compl. ¶¶ 59, 73, 75], allow for the

inference that Vertol and the other Defendants invidiously discriminated against Plaintiffs

because of their race. 33 Accordingly, the Court denies Vertol’s motion to dismiss Count VII.

                        2.      State Law Claims

                                i.      Choice of Law

        The parties dispute whether Massachusetts or Florida law should apply to the state law

claims, but agree that the Court should use Massachusetts choice of law rules to determine which

state law applies. See [ECF No. 83 at 29–31; ECF No. 98 at 53].

        In Massachusetts, “the substantive law governing an action of tort for physical injury is

that of the place where the injury occurred.” Cohen v. McDonnell Douglas Corp., 450 N.E.2d



33
  The fact that “Latinos make up a large share of the unauthorized alien population,” and thus
“one would expect them to make up an outsized share of recipients of any cross-cutting
immigration relief program,” Dep’t of Homeland Sec. v. Regents of the U. of Cal., 140 S. Ct.
1891, 1916 (2020), does not preclude an inference of racial animus here given the allegations
that Latinx individuals were specifically targeted, the only ones approached, and the only ones
on the Flights, see [Am. Compl. ¶¶ 59, 73, 75].
                                                 64
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581, 585 (Mass. 1983) (quoting Brogie v. Vogel, 205 N.E.2d 234, 236 (Mass. 1965)). “The

place where the injury occurred ‘is the place where the last event necessary to make an actor

liable for an alleged tort takes place.’” Id. (quoting Orr v. Sasseman, 239 F.2d 182, 186 (5th Cir.

1956). Here, the place where injury occurred is Massachusetts. See [Am. Compl. ¶¶ 283–285,

292–293, 300–303, 310–312, 322–323, 332–333].

       That said, “on the particular facts of a case[,] another jurisdiction may sometimes be

more concerned and more involved with certain issues . . . .” Cohen, 450 N.E.2d at 585 (quoting

Pevoski v. Pevoski, 358 N.E.2d 416, 417 (Mass. 1976)). In that circumstance, Massachusetts

courts use a “functional choice-of-law approach that responds to the interests of the parties, the

States involved, and the interstate system as a whole,” Buskin Assocs., Inc. v. Raytheon, Co.,

473 N.E.2d 662, 668 (Mass. 1985), which looks to the Restatement (Second) of Conflict of

Laws, UBS Fin. Servs., Inc. v. Aliberti, 133 N.E.3d 277, 288 n.12 (Mass. 2019). Section 145 of

the Restatement states that

       [t]he rights and liabilities of the parties with respect to an issue in tort are
       determined by the local law of the state which, with respect to that issue, has the
       most significant relationship to the occurrence and the parties under the principles
       stated in § 6.

Restatement (Second) of Conflict of Laws § 145. Section 6, in turn, provides that courts may

consider, among other factors, “the relevant policies of the forum,” “the relevant policies of other

interested states and the relative interests of those states in the determination of the particular

issue,” and “the protection of justified expectations.” Restatement (Second) of Conflict of Laws

§ 6.

       Vertol argues that “Plaintiffs are suing senior Florida officials—including its Governor—

Florida residents, and a Florida-based company over the implementation of a Florida law

intended to advance Florida’s public policy interests.” [ECF No. 83 at 30]. “In that context,
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Florida’s law of sovereign immunity will also play a substantial part.” [Id.]. In response,

Plaintiffs aver that “Massachusetts has a significant interest in ensuring that out-of-state

defendants do not use the Commonwealth to abuse already vulnerable human beings for personal

or political gains.” [ECF No. 98 at 53].

       As an initial matter, several of Vertol’s arguments are moot in light of the Court’s finding

that, for example, the Florida officials and government agencies are dismissed, though the Court

has also found that Plaintiffs have plausibly alleged that Vertol is acting as a Florida actor. See

supra. In any event, Vertol specifically targeted Massachusetts for the alleged conduct, see, e.g.,

[Am. Compl. ¶¶ 51, 53], in part because of Massachusetts’ policies toward immigration, see,

e.g., [id. ¶ 183 (“Defendant DeSantis . . . explained, ‘[i]n Florida, we take what is happening at

the southern border seriously. We are not a sanctuary state, and we will gladly facilitate the

transport of illegal immigrants to sanctuary jurisdictions.’”); id. ¶ 189 (“DeSantis continued to

defend the stunt, telling reporters in Florida, ‘If you believe in open borders, then it’s the

sanctuary jurisdictions that should have to bear the brunt of the open borders.’”)]. Moreover,

Massachusetts residents and institutions were forced to deal with the results of the alleged

scheme. See [Am. Compl. ¶¶ 152–154]. The Court finds that, in light of Defendants’ alleged

conduct, Massachusetts’ interest in adjudicating disputes relating to actions that specifically

target the state and its policies far outweighs any purported interest that Florida now has in this

action. Accordingly, the Court will apply Massachusetts law.

                               ii.     False Imprisonment (Count VIII)

       To state a claim for false imprisonment, a Plaintiff must allege the “(1) intentional and (2)

unjustified (3) confinement of a person, (4) directly or indirectly (5) of which the person




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confined is conscious or is harmed by such confinement.” Dagi v. Delta Airlines, Inc., 961 F.3d

22, 29 (1st Cir. 2020).

          Vertol argues that Plaintiffs fail to plead the elements of intent and confinement. [ECF

No. 107 at 15–16]; see also [ECF No. 83 at 31 (arguing that the Amended Complaint fails to

allege that Plaintiffs were “confined, detained, or otherwise restrained against his or her will”)].

Rather, Vertol argues that (1) Plaintiffs do not allege that “Vertol Defendants intended to confine

them to the island,” [ECF No. 107 at 16]; and (2) Plaintiffs were “not confined” because they

were “free to leave [the island] at any time and do not plausibly allege otherwise,” [id.], and

because they “willingly accepted the transportation and lodging offered them,” [ECF No. 83 at

31]. Plaintiffs, on the other hand, aver that they were confined on the Flights themselves, see

[ECF No. 98 at 65–66], and that they were confined again on Martha’s Vineyard because they

had no practical means of leaving the island once they landed, [id. at 66].

          The Court finds that Plaintiffs have plausibly alleged that Vertol falsely imprisoned them,

at the very least, on the Flights. For example, Vertol intentionally submitted the bid to conduct

the Flights to Massachusetts, e.g., [Am. Compl. ¶¶ 51, 53]; Vertol participated in the recruitment

of Plaintiffs, e.g., [id. ¶¶ 57, 61–62, 104, 109]; Plaintiffs would not have gone on the Flights if

they had known the true nature of the scheme, e.g., [id. ¶¶ 159, 162, 168]; 34 they could not leave

the Flights or decline transportation once they knew where they were going, e.g., [id. ¶ 283]; and

they suffered harm, e.g., [id. ¶ 144]. Accordingly, Vertol’s motion to dismiss Count VIII is

denied.



34
  “It is well settled that any restraint, although without physical contact of the person, is
sufficient to constitute false imprisonment.” Sweeney v. F.W. Woolworth Co., 142 N.E. 50, 51
(Mass. 1924).

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                               iii.   Fraud / Deceit (Count IX)

       Fraud claims have a “heightened pleading requirement [under] Fed. R. Civ. P. 9(b),” and

“a complaint alleging fraud must state ‘the who, what, where, and when’ of the alleged

deception.” Berezin v. FCA US, LLC, No. 21-cv-10852, 2022 WL 488411, at *4 (D. Mass. Feb.

17, 2022) (quoting Kaufman v. CVS Caremark Corp., 836 F.3d 88, 91 (1st Cir. 2016)). 35

       In Massachusetts, a claim for fraud requires the plaintiff to show “that (1) the
       defendant made a false representation of material fact, (2) with knowledge of its
       falsity, (3) for the purpose of inducing the plaintiff to act in reliance thereon, (4)
       the plaintiff relied upon the representation, and (5) the plaintiff acted to his
       detriment.”

Metro. Prop. & Cas. Ins. Co. v. Savin Hill Fam. Chiropractic, Inc., 266 F. Supp. 3d 502, 537 (D.

Mass. 2017) (quoting Fiorillo v. Winiker, 85 F. Supp. 3d 565, 574 (D. Mass. 2015)).

       With respect to the detriment factor, “[i]t is well-settled that a common-law action for

fraud requires a pecuniary loss.” Shaulis v. Nordstrom Inc., 120 F. Supp. 3d 40, 54 (D. Mass.

2015), aff’d, 865 F.3d 1, 15 (1st Cir. 2017). Vertol argues that Plaintiffs fraud claim fails

because they have not alleged any pecuniary loss. [ECF No. 107 at 17]. Plaintiffs do not

respond to this argument.

       The only allegations of pecuniary harm here are that “Yanet Doe and her family have

suffered emotional and economic harm and irreparable damage to their dignity and autonomy.”

[Am. Compl. ¶157]; see also [id. ¶ 161 (similar for Pablo); id. ¶ 166 (similar for Jesus)]. The

Court views these allegations as conclusions as opposed to facts that allow the Court to assess




35
  “Although the Court looks to state law to determine whether the elements of fraud have been
pled, the procedure for pleading fraud in federal court is governed by the heightened particularity
requirements of Fed R. Civ P. 9(b).” Pearce v. Duchesneau Grp., Inc., 392 F. Supp. 2d 63, 72
(D. Mass. 2005).
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whether Plaintiffs have actually suffered a pecuniary harm. See Twombly, 550 U.S. at 555.

Accordingly, Count IX is dismissed without prejudice.

                               iv.     Intentional Infliction of Emotional Distress (Count X)

       Count X alleges intentional infliction of emotional distress. [Am. Compl. ¶¶ 297–305].

To state a claim for intentional infliction of emotional distress, a plaintiff must allege “(1) that

[the defendant] intended, knew, or should have known that his conduct would cause emotional

distress; (2) that the conduct was extreme and outrageous; (3) that the conduct caused emotional

distress; and (4) that the emotional distress was severe.” Polay v. McMahon, 10 N.E.3d 1122,

1128 (Mass. 2014).

       “The standard for making a claim of intentional infliction of emotional distress is very

high.” Polay, 10 N.E.3d at 1128 (quoting Doyle v. Hasbro, Inc., 103 F.3d 186, 195 (1st Cir.

1996)). “Liability cannot be predicated on mere insults, indignities, threats, annoyances, petty

oppressions, or other trivialities, nor even is it enough that the defendant has acted with an intent

which is tortious or even criminal, or that he has intended to inflict emotional distress, or even

that his conduct has been characterized by malice, or a degree of aggravation which would entitle

the plaintiff to punitive damages for another tort.” Id. (internal quotations and citations omitted).

“Conduct qualifies as extreme and outrageous only if it ‘go[es] beyond all possible bounds of

decency, and [is] regarded as atrocious, and utterly intolerable in a civilized community.’” Id.

(quoting Roman v. Trs. of Tufts Coll., 964 N.E.2d 331, 341 (Mass. 2012)). That said, “[i]n

considering whether a plaintiff has made out a claim for intentional infliction of emotional

distress, [the Massachusetts Supreme Judicial Court has] said that the trier of fact ‘would be

entitled to put as harsh a face on the [defendant’s actions] as the basic facts would reasonably




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allow.’” Roman, 964 N.E.2d at 341–42 (quoting Foley v. Polaroid Corp., 508 N.E.2d 72, 82

(1987)).

       Vertol argues that (1) its conduct “would not be ‘outrageous’ even if true” because, for

example, they provided Plaintiffs with food and shelter, and transported them to a “sanctuary”

jurisdiction, [ECF No. 83 at 35–36]; and (2) Plaintiffs fail to allege facts demonstrating severe

emotional distress, [id. at 36]. In response, Plaintiffs aver that (1) providing food and shelter was

“a course of duplicitous, underhanded efforts to gain Individual Plaintiff[s’] trust in order to then

strand them on an isolated island as part of a political stunt,” [ECF No. 98 at 62], (2) using

people as “political props” goes “‘beyond all possible bounds of decency’ and [is] ‘utterly

intolerable in a civilized community,’” [id. (quoting Howell v. Enter. Publ’g Co., LLC, 920

N.E.2d 1, 28 (Mass. 2010))]; and (3) “[e]ach of the Individual Plaintiffs suffered acute,

immediate, and physical effects of Defendants’ actions, developing vertigo and suffering a lack

of sleep shortly after landing on Martha’s Vineyard,” and further:

       the harm caused by Defendants did not stop there. When Yanet Doe realized she
       had been unwittingly made part of a political stunt, she was afraid for her safety
       and the safety of her son, as becoming involved in politics in her home country can
       have severe and even violent consequences. [Am. Compl. ¶ 158]. Her son self-
       isolates at school, refusing to talk to anyone about the incident[] and now distrusts
       anyone who approaches the family with offers of assistance, asking Yanet Doe if
       such offers are a “Perla situation” or “like Perla” . . . . [Id. ¶ 157]. Jesus Doe,
       whose son in Venezuela relies on his financial support, felt desperate, anxious, and
       afraid after realizing that, stranded on an island, his hopes of supporting his son had
       been jeopardized. [Id. ¶ 166]. Like Yanet Doe’s son, he is now distrustful of others.
       [Id. ¶ 167]. Each of the Individual Plaintiffs has also suffered irreparable harm to
       their dignity and autonomy by being tricked by Defendants and having their images
       disseminated through the national media. Unsurprisingly, that has caused
       Individual Plaintiffs great consternation and they continue to fear being recognized
       as one of the people that Defendants tricked and stranded on Martha’s Vineyard.
       [Id. ¶¶ 157, 167].

[ECF No. 98 at 63–64 (internal case citations omitted)].



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       First, the Court finds that Plaintiffs sufficiently allege that Vertol “intended, knew, or

should have known that [its] conduct would cause emotional distress.” See Polay, 10 N.E.3d at

1128. Specifically, Plaintiffs plausibly allege that Vertol actively participated in the scheme to

recruit vulnerable individuals, through deceit, and to send them to Massachusetts as part a public

act relating to a divisive national political issue. See, e.g., [Am. Compl. ¶¶ 51, 53, 57, 60–62, 73,

109, 129, 147–151, 159, 162, 168, 179–183].

       Second, Plaintiffs have sufficiently alleged that the conduct here was extreme and

outrageous. See Polay, 10 N.E.3d at 1128. Simply put, assuming the allegations are true for

purposes of this motion, Hutcheson, 647 F.3d at 383, and recognizing that the Court may “put as

harsh a face on [Vertol’s actions] as the basic facts would reasonably allow,” Roman, 964

N.E.2d at 341, Vertol participated in a scheme to recruit vulnerable individuals through deceit so

they could unwillingly and publicly be used as a prop in an extremely divisive national debate,

see, e.g., [Am. Compl. ¶¶ 51, 53, 57, 60–62, 73, 109, 129, 147–151, 159, 162, 168, 179–183].

This is “extreme and outrageous” conduct that is “beyond all possible bounds of decency, and

[could be] regarded as atrocious, and utterly intolerable in a civilized community.” Polay, 10

N.E.3d at 1128 (quoting Roman, 964 N.E.2d. at 341).

       Finally, Plaintiffs have sufficiently alleged that they suffered severe emotional distress.

See Polay, 10 N.E.3d at 1128. For example:

           •   Regarding Yanet: she “and her family have suffered emotional and economic

               harm and irreparable damage to their dignity and autonomy. Her young son has

               been particularly affected. He refuses to talk to anyone about the incident and

               distrusts everyone who approaches him. He now asks Plaintiff Yanet Doe if

               offers of assistance are a ‘Perla situation’ or ‘like Perla’ . . . . He is particularly

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               afraid that his identity will be revealed and that what happened to him and his

               family will be broadcast on television.” [Am. Compl. ¶ 157].

           •   Regarding Pablo: he “felt helpless, defrauded, desperate, anxious, and confused”

               and “suffered from a lack of sleep.” [Id. ¶¶ 160–161].

           •   Regarding Jesus: he “felt defrauded, desperate, anxious, and confused. The

               experience of being used as a pawn in Defendants’ scheme and transported to

               Martha’s Vineyard under false pretenses has been traumatizing.” He has

               “suffered from lack of sleep and vertigo. His spirits plummeted when he found

               out that Defendants had lied to him. He developed a headache and did not want

               to talk to anyone.” And “he is constantly scared of being recognized as one of the

               immigrants who was deceived into coming to Martha’s Vineyard. He tries to

               keep a low profile to avoid people identifying him as one of the immigrants whom

               Defendants stranded on Martha’s Vineyard, and he has lost trust in people

               because he cannot know whether they have bad intentions like Defendants.” [Id.

               ¶¶ 163–167].

       Plaintiffs have alleged more than just “anger, sadness, anxiety, and distress.” Kennedy v.

Town of Billerica, 617 F.3d 520, 530 (1st Cir. 2010). In addition to those types of harms, see

supra, they have alleged what could be fairly described as a perpetual fear and anxiety

surrounding their public inclusion in Defendant’s scheme, see supra; see also Campbell v. Casey,

166 F. Supp. 3d 144, 152 (D. Mass. 2016) (denying summary judgement where plaintiff alleged

they suffered “stress, emotional pain and embarrassment”); Gill v. United States, 588 F. Supp. 3d

134, 140 (D. Mass. 2022) (“in some cases extreme and outrageous conduct alone may give rise

to an inference of severe emotional distress”). In sum, no reasonable person should have to

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endure the anxiety that comes with being unwillingly inserted into a divisive national debate, see

Kim v. Jung Hyun Chang, 249 So. 3d 1300, 1306 (Fla. Dist. Ct. App. 2018), and the Court finds

that Plaintiffs have sufficiently pleaded that their injuries were severe. Accordingly, Vertol’s

motion to dismiss Count X is denied.

                               v.      Negligent Infliction of Emotional Distress (Count XI)

       “To recover for negligently inflicted emotional distress, a plaintiff must prove ‘(1)

negligence; (2) emotional distress; (3) causation; (4) physical harm manifested by objective

symptomatology; and (5) that a reasonable person would have suffered emotional distress under

the circumstances of the case.’” Lanier v. President & Fellows of Harvard Coll., 191 N.E.3d

1063, 1072 (Mass. 2022) (quoting Payton v. Abbott Labs, 437 N.E.2d 171, 181 (1982)).

Defendants focus the entirety of their argument on the physical harm prong of the analysis, [ECF

No. 83 at 37; ECF No. 107 at 18–19], and thus that is the only factor the Court considers here.

       “The requirement of physical harm is interpreted to include a broad range of symptoms;

what is required is only enough ‘objective evidence’ to ‘corroborate [plaintiffs’] mental distress

claims.’” Lanier, 191 N.E.3d at 1072 (quoting Sullivan v. Bos. Gas Co., 605 N.E.2d 805, 810

(Mass. 1993). “Qualifying symptoms include those that could be classified as more mental than

physical, provided that they go beyond mere upset, dismay, humiliation, grief and anger.” Id.

(internal quotations and citations omitted). Based on the same allegedly severe injuries

discussed above that the Court found sufficient to support a claim for intentional infliction of

emotional distress, see supra, the Court finds that Plaintiffs have sufficiently pleaded an injury

for purposes of a negligent infliction of emotional distress claim. Accordingly, Vertol’s motion

to dismiss Count XI is denied.




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                                 vi.   Civil Conspiracy (Count XII)

       Count XII alleges a civil conspiracy. [Am. Compl. ¶¶ 316–324]. “Massachusetts

recognizes two types of civil conspiracy, a so-called ‘true conspiracy’ and conspiracy based on

section 867 of the Restatement (Second) of Torts),” the second of which “is a form of vicarious

liability for the tortious conduct of others.” Taylor v. Am. Chemistry Council, 576 F.3d 16, 34

(1st Cir. 2009). Under the second theory, which is the relevant theory here, see [ECF No. 98 at

68; ECF No. 107 at 19], a claim for civil conspiracy requires showing (1) “concert of action” or

“substantial assistance or aiding and abetting,” and (2) an underlying tort. Taylor, 576 F.3d at 35

(internal quotations omitted).

       As an initial matter, Vertol argues that the civil conspiracy claim must be dismissed

because Plaintiffs failed to establish an underlying tort. [ECF No. 83 at 38; ECF No. 107 at 19].

As discussed above, see supra, Plaintiffs have stated a claim for several torts, and thus this

argument fails, and the tortious conduct element of the civil conspiracy is satisfied, see Taylor,

576 F.3d at 34.

       Regarding the “concert of action” theory, two elements are required: first, “the defendant

and the other have an agreement to perform the act or achieve the result,” and second “the

defendant’s own conduct must be tortious.” Payton v. Abbott Labs, 512 F. Supp. 1031, 1035 (D.

Mass. 1981) (citing Gurney v. Tenney, 84 N.E. 428, 430 (Mass. 1908)); see also Greene v. Philip

Morris USA Inc., 208 N.E.3d 676, 683 (Mass. 2023) (the concerted action theory “applies to a

common plan to commit a tortious act where the participants know of the plan and its purpose

and take affirmative steps to encourage the achievement of the result” (quoting Kurker v. Hill,

689 N.E.2d 833, 837 (Mass. App. Ct. 1998))).




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       First, as explained above, Plaintiff has sufficiently pleaded that Vertol’s conduct was

tortious. See supra.

       As to an agreement, “an agreement can be inferred from conduct of the parties suggesting

that they had an implied meeting of minds.” Payton, 512 F. Supp. at 1035. Here, there is ample

evidence that, for the torts discussed above, the Defendants agreed to engage in the conduct that

led Plaintiffs onto the Flights and ultimately to Massachusetts. As examples, Plaintiffs plausibly

allege that Vertol submitted a bid to conduct the Flights and Keefe, Florida’s “public safety

czar, . . . was in regular correspondence with Defendant Montgomerie to make sure that the

contract went through,” [Am. Compl. ¶ 46]; Keefe “shepherd[ed] Defendant Vertol through the

bidding process, texting Defendant Montgomerie to confirm that Defendant Vertol was

‘register[ed] with the state as discussed with [the Florida] DOT,’” [id. ¶ 47]; Vertol submitted the

proposal to fly Plaintiffs to Massachusetts for a price “subject to [Florida] DOT approval,” [id. ¶

53]; Perdue, the Secretary of the Florida DOT, approved the government funds sent to Vertol for

the Flights, [id. ¶¶ 19, 56]; Keefe assisted Huerta in the recruitment of Plaintiffs and stayed

apprised of her and Montgomerie’s efforts, including by congratulating Montgomerie for finding

Plaintiffs, [id. ¶¶ 61, 66, 68, 109]; Keefe helped arrange the Flights with the “full support” of

Uthmeier, DeSantis’ Chief of Staff, and communicated with and kept Uthmeier up to date on

Vertol’s efforts, [id. ¶¶ 21, 101–105, 108, 111–112]; Keefe was on the Flights for a portion of

the trip, [id. ¶¶ 128, 131]; DeSantis “claimed credit for flying [] Plaintiffs to Martha’s Vineyard,”

[id. ¶ 178]; Uthmeier confirmed that the Flights were the work of DeSantis by tweeting

“@GovRonDeSantis helps them get to wealthy communities that support open border policies

and now it’s a hate crime?,” [id. ¶ 186]; and finally, after the Flights, DeSantis’ comments




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confirmed that the relocation efforts, including those done by Vertol here, were done with his

support:

       “We have a whole infrastructure in place now. There’s going to be a lot more that’s
       happening. It’s not just flights.” Elsewhere he has confirmed, “I have $12 million
       for us to use and so we are going to use it and you’re gonna see more and more.”
       He continued, “I’m going to make sure that we exhaust all those funds.”

[Id. ¶ 196 (internal footnotes omitted)]. Accordingly, the Court finds that Plaintiffs have

sufficiently alleged an agreement between Vertol and the other Defendants to engage in the

conduct at issue here, and thus denies Vertol’s motion to dismiss Count XII. 36

                               vii.    Aiding and Abetting (Count XIII)

       Count XIII alleges aiding and abetting. [Am. Compl. ¶¶ 325–335]. “To state a claim for

aiding and abetting a tort, the plaintiff must allege ‘(1) that [a party] committed the relevant tort;

(2) that [the defendant] knew that [the first party] was committing the tort; and (3) that [the

defendant] actively participated in or substantially assisted in his commission of the tort.’”

Traverse v. Gutierrez Co., No. 18-cv-10175, 2018 WL 5619201, at *5 (D. Mass. Oct. 30, 2018)

(quoting Go-Best Assets Ltd. v. Citizens Bank of Mass., 972 N.E.2d 426, 438 (Mass. 2012)).

Vertol argues that Plaintiffs fail to state an aiding and abetting claim because they “have not

adequately alleged any tort against the other Defendants,” and “[t]hey have also failed to allege

knowing and substantial assistance by the Vertol Defendants.” [ECF No. 83 at 39].

       As an initial matter, as explained above, Plaintiff has stated a claim for several torts. See

supra. As to knowledge and participation or substantial assistance, in Traverse, a different

session of this court denied a motion to dismiss an aiding and abetting claim where the




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  Because the Court finds that Plaintiffs have sufficiently alleged a civil conspiracy under the
concert of action theory, it need not consider the substantial assistance theory.
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    defendants argued that “the amended complaint d[id] not allege that [they] were aware of the

    [tort] or took specific acts to further that tort.” 2018 WL 5619201, at *5. The Court denied the

    motion because the amended complaint alleged ways in which they “took specific acts to further

    the tort,” seemingly reasoning that one who takes specific action to further the tort necessarily

    has knowledge of the tort. See id.

             Here, as explained above, Plaintiffs have sufficiently stated a claim that Vertol itself took

    specific acts to further several of the alleged torts. See supra. Moreover, despite the Court

    having found, based on the current record, that it does not have jurisdiction over the other

    Defendants, the alleged facts nonetheless support the inference that torts were committed and

    that Vertol aided and abetted their commission. This is sufficient to state a claim for aiding and

    abetting, and Vertol’s motion to dismiss Count XIII is denied.

III.         CONCLUSION

             Accordingly, for the reasons stated above, the motions to dismiss at ECF Nos. 80 and 84

       are GRANTED and the Amended Complaint is dismissed, without prejudice, as to Huerta,

    DeSantis, Perdue, Keefe, Uthmeier, the State of Florida, and the Florida DOT. The motion to

    dismiss at ECF No. 82 is GRANTED in part and DENIED in part. It is granted insofar as the

    Amended Complaint is dismissed in its entirety, without prejudice, as to Montgomerie. With

    respect to Vertol, it is granted insofar as Counts II, V, and IX are dismissed without prejudice,

    and denied as to Counts I, VI, VII, VIII, X, XI, XII, and XIII.

             SO ORDERED.

    March 29, 2024                                                 /s/ Allison D. Burroughs
                                                                   ALLISON D. BURROUGHS
                                                                   U.S. DISTRICT JUDGE




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